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                                  U NI T E D S T A T E S DI S T RI C T C O U R T
                                S O U T H E R N DI S T RI C T O F N E W Y O R K


N O V A R TI S I N T E R N A TI O N A L
P H A R M A C E U TI C A L A G,
                                                                      C as e N o. 1: 2 0- c v - 0 0 4 0 0-G H W
                                    Pl ai ntiff,
                                                                      H o n. G r e g o r y H. W o o d s
                           v.

I N C Y T E C O R P O R A TI O N,

                                    D ef e n d a nt.



   N O V A R TI S I N T E R N A TI O N A L P H A R M A C E U TI C A L A G’ S M E M O R A N D U M O F
    L A W I N O P P O SI TI O N T O I N C Y T E C O R P O R A TI O N’ S M O TI O N T O DI S MI S S




                                      G R E E N B E R G T R A U RI G, L L P

                                               T h e M et Lif e B uil di n g
                                                   2 0 0 P ar k A v e n u e
                                          N e w Y or k, N e w Y or k 1 0 1 6 6
                                                T el: ( 2 1 2) 8 0 1- 9 2 0 0
                                                F a x: ( 2 1 2) 8 0 1- 6 4 0 0

                                         A tt or n e ys f or Pl ai ntiff N o v artis
                                       I nt er nati o n al P h ar m a c e uti c al A G
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                                                            T A B L E OF C O N T E N TS

S U M M A R Y O F A R G U M E N T ...................................................................................................... 1

F A C T U A L B A C K G R O U N D A S P L E D I N N O V A R TI S’ C O M P L AI N T .................................... 5

           G l o b al C oll a b or ati o n U n d er t h e A gr e e m e nt ....................................................................... 5
           In c yt e’s P at e nts a n d t h e Pr os e c uti o n a n d M ai nt e n a n c e of P at e nt Ri g hts U n d er t h e
                      A g r e e m e nt ............................................................................................................... 5
           L i c e ns es Gr a nt e d U n d er t h e A gr e e m e nt ............................................................................. 6
           In c yt e’s P at e nt Ri g hts i n t h e U. S. a n d Ot h er P at e nt Ri g hts C o v eri n g R u x oliti ni b............. 7
           F D A - A p pr o v e d I n di c ati o ns a n d I n c yt e’s R e g ul at or y E x cl usi viti es i n t h e U. S. ................. 7
           T h e A gr e e m e nt’s Bil at er al R o y al t y Pr o visi o n.................................................................... 8
           A s J a k afi S al es S o ar, I n c yt e I m pr o p erl y I n v o k es t h e St e p D o w n ...................................... 9

A R G U M E N T ................................................................................................................................ 1 0

I.         N O V A R TI S S U F FI CI E N T L Y P L E A D S A “ V A LI D C L AI M O F LI C E N S E D
           P A T E N T RI G H T S ” T O P R E C L U D E T H E S T E P D O W N ............................................. 1 2

           A.         “ Li c e ns e d P at e nt Ri g hts ” E n c o m p ass es All P at e nts C o v eri n g J a k afi .................. 1 2
           B.         T h e J A K Li c e ns e Pr o vi d es F or “ Li c e ns e d P at e nt Ri g hts ” i n t h e U. S. ................. 1 4
           C.         I n c yt e’s C o u ntr y-S p e cifi c Li mit ati o n D efi es C o m m er ci al L o gi c ......................... 1 5

II.        N O V A R TI S S U F FI CI E N T L Y P L E A D S T H A T J A K A FI I S S TI L L “ S U BJ E C T
           T O R E G U L A T O R Y E X C L U SI VI T Y ” T O P R E C L U D E T H E S T E P D O W N ............... 1 7

           A.         R e m ai ni n g E x cl usi viti es E xist f or T w o Si g nifi c a nt M e di c al C o n diti o ns ............. 1 7
           B.         R o y alti es P ert ai n t o Li c e ns e d Pr o d u cts, N ot I n di c ati o ns or M e di c al
                      C o n di ti o ns ............................................................................................................. 1 7
           C.         E xisti n g E x cl usi viti es Pr e cl u d e C o m m er ci ali z ati o n A cti viti es f or J a k afi ............ 1 9
           D.         In c yt e’s I nt er pr et ati o n I m p er missi bl y R eli es o n S p e c ul ati o n ............................... 2 2

III.       C O M M E R CI A L L O GI C C O N FI R M S N O V A R TI S’ I N T E R P R E T A TI O N I S
           N O T O N L Y P L A U SI B L E B U T C O M P E L LI N G ............................................................ 2 4

C O N C L U SI O N ............................................................................................................................. 2 5




                                                                           i
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                                                   T A B L E O F A U T H O RI TI E S
                                                                                                                                           P a g e(s)

F e d e r al C as es

A ir C hi n a Lt d. v. Li,
    N o. 0 7- c v - 1 1 1 2 8, 2 0 0 8 W L 7 5 4 4 5 0 ( S. D. N. Y. M ar. 1 7, 2 0 0 8).............................................. 2 0
A m eri c a n Bl d g. M ai nt. C o. of N . Y. v. A c m e Pr o p . S er vs ., I n c. et al.,
     5 1 5 F. S u p p. 2 d 2 9 8 ( N. D. N. Y. A u g. 2 9, 2 0 0 7) ...................................................................... 1 1
A s h cr oft v. I q b al ,
      5 5 6 U. S. 6 6 2 ( 2 0 0 9)................................................................................................................. 1 2
B ell Atl. C or p. v. T w o m bl y ,
     5 5 0 U. S. 5 4 4 ( 2 0 0 7)................................................................................................................. 1 2
C B S C or p. v. E at o n C or p. ,
     N o. 0 7- c v - 1 1 3 4 4, 2 0 0 9 W L 4 7 5 6 4 3 6 ( S. D. N. Y. D e c. 7, 2 0 0 9) .............................................. 2 0
Citi b a n k, N. A. v. J a c o bs e n ,
      N o. 1 9- c v - 9 5 9, 2 0 2 0 W L 1 5 0 3 2 2 9 ( S. D. N. Y. M ar. 3 0, 2 0 2 0)..........................................1 1 , 1 7
C iti b a n k, N. A. v. J a c o bs e n,
     N o. 1 9- c v - 9 5 9, 2 0 2 0 W L 7 7 2 4 9 7 ( S. D. N. Y. F e b. 1 8, 2 0 2 0) .................................................. 2 1
Cl ar e n d o n N at’l I ns. C o. v. H e alt h Pl a n A d m’rs ,
     N o. 0 8- c v - 6 2 7 9, 2 0 0 9 W L 3 0 5 3 7 3 6 ( S. D. N. Y. S e pt. 2 4, 2 0 0 9) ............................................. 1 0
C ol u m bi a C as. C o. v. N ei g h b or h o o d Ris k M g mt. C or p. ,
      N o. 1 4- c v - 0 0 4 8, 2 0 1 5 W L 3 9 9 9 1 9 2 ( S. D. N. Y. J u n e 2 9, 2 0 1 5) ..................................1 0 , 1 4 , 2 3
Dr ess er - R a n d C o. v. I n g ers oll R a n d C o.,
     N o. 1 8- c v - 3 2 2 5, 2 0 1 9 W L 1 4 3 4 5 7 5 ( S. D. N. Y. M ar. 2 9, 2 0 1 9)......................................... 5, 1 0
H o m e w ar d R esi d e nti al, I n c. v. S a n d C a n y o n C or p. , N o. 1 3-c v - 2 1 0 7, 2 0 1 4 W L
    2 5 1 0 8 0 9, at * 9- 1 0 ( S. D. N. Y. M a y 2 8, 2 0 1 4) .......................................................................... 2 5
I n r e A m eri c a n I nt’l Gr p., I n c, 2 0 0 8 S e c. Liti g .,
     7 4 1 F. S u p p. 2 d 5 1 1, 5 1 9 ( S. D. N. Y. 2 0 1 0) ............................................................................... 9
I nt’l B usi n ess M a c hs. C or p. v. S m a di,
     N o. 1 4- c v - 4 6 9 4, 2 0 1 5 W L 8 6 2 2 1 2 ( S. D. N. Y. M ar. 2, 2 0 1 5).................................................. 1 1
J o n es v. M er c e d es - B e nz, M a n h att a n, I n c.,
      N o. 1: 1 9- c v - 0 0 4 7 2, 2 0 2 0 W L 1 4 4 5 7 2 8 ( S. D. N. Y. M ar. 2 5, 2 0 2 0)......................................... 1 9
K o hl’s D e p’t St or es, I n c. v. R o n gr a nt Ass o cs. L L C ,
      N o. 0 4- c v - 4 9 0 7, 2 0 0 5 W L 1 2 6 3 6 1 3, at * 3 ( E. D. N. Y. M a y 2 7, 2 0 0 5) .................................... 2 0
Ni x o n v. Miss o uri M u n. L e a g u e ,
      5 4 1 U. S. 1 2 5 ( 2 0 0 4)................................................................................................................. 2 1
S er d ar e vi c v. C e nt e x H o m es, L L C ,
      7 6 0 F. S u p p. 2 d 3 2 2 ( S. D. N. Y. 2 0 1 0)....................................................................................... 2 0

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T el e m u n d o Gr p., I n c. v. Al d e n Pr ess, I n c. ,
      1 8 1 A. D. 2 d 4 5 3 ( 1st D e p’t 1 9 9 2) ........................................................................................... 1 1

S t at e C as es

C ol e v. M a c kl o w e ,
      9 9 A. D. 3 d 5 9 5 ( 1st D e p’t 2 0 1 2) .............................................................................................. 2 4
M att er of Pri m e x I nt’l C or p. v. W al- M art St or es ,
      8 9 N. Y. 2 d 5 9 4 ( 1 9 9 7) .............................................................................................................. 1 1
R u bi n v. Cit y N at’l B a n k & Tr ust C o. of Gl o v ers vill e ,
     1 3 1 A. D. 2 d 1 5 0 ( 3 d D e p’t 1 9 8 7) ............................................................................................. 2 0

R ul es

F e d. R. Ci v. P. 1 2( b)( 6).................................................................................................................. 1 0
F e d. R. E vi d. 2 0 1 ............................................................................................................................. 9

R e g ul ati o ns

2 1 C. F. R. § 3 1 6. 3( b)( 1 2).................................................................................................................. 7
2 1 C. F. R. § 3 1 6. 3 1 ........................................................................................................................... 7

O t h e r A ut h o riti es

A m eri c a n H erit a g e Di cti o n ar y, htt ps:// a h di cti o n ar y. c o m/ w or d/s e ar c h. ht ml ? q = all
     (l ast visit e d M a y 1 8, 2 0 2 0) ...................................................................................................... 2 1
A m eri c a n H erit a g e Di cti o n ar y, htt ps:// a h di cti o n ar y. c o m/ w or d/s e ar c h. ht ml ? q = a n y
     (l ast visit e d M a y 1 8, 2 0 2 0) ...................................................................................................... 2 1
C a m bri d g e Di cti o n ar y, htt ps:// di cti o n ar y. c a m bri d g e. or g/ us/ di cti o n ar y/ e n glis h/ all
    (l ast visit e d M a y 1 8, 2 0 2 0) ...................................................................................................... 2 1
C a m bri d g e Di cti o n ar y, htt ps:// di cti o n ar y. c a m bri d g e. or g/ us/ di cti o n ar y/ e n glis h/ a n y
    (l ast visit e d M a y 1 8, 2 0 2 0) ...................................................................................................... 2 1
F D A, P at e nt C ertifi c ati o ns a n d S uit a bilit y P etiti o ns, a v ail a bl e at
    htt ps:// w w w.f d a. g o v/ dr u gs/ a b br e vi at e d- n e w -dr u g -a p pli c ati o n -a n d a/ p at e nt -
    c ertifi c ati o ns -a n d -s uit a bilit y-p etiti o ns (l ast visit e d M a y 1 8, 2 0 2 0) ........................................ 2 3
I n c yt e, F or I n v est ors , htt ps://i n v est or.i n c yt e. c o m/i n v est or-r el ati o ns (l ast visit e d
      M a y 1 8, 2 0 2 0)............................................................................................................................ 9
M erri a m -W e bst er Di cti o n ar y, htt ps:// w w w. m e rri a m-w e bst er. c o m/ di cti o n ar y/ all
    (l ast visit e d M a y 1 8, 2 0 2 0) ...................................................................................................... 2 1
M erri a m -W e bst er Di cti o n ar y, htt ps:// w w w. m erri a m - w e bst er. c o m/ di cti o n ar y/ a n y
     (l ast visit e d M a y 1 8, 2 0 2 0) ...................................................................................................... 2 1




                                                                          iii
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O xf or d E n glis h Di cti o n ar y ,
     htt ps:// w w w. o e d. c o m/ vi e w/ E ntr y/ 8 9 7 3 ?r e dir e ct e d Fr o m = a n y # ei d (l ast visit e d
     M a y 1 8, 2 0 2 0) ......................................................................................................................... 2 1
O xf or d E n glis h Di cti o n ar y,
     htt ps:// w w w. o e d. c o m/ vi e w/ E ntr y/ 5 1 5 1 ?r e dir e ct e d Fr o m = all # ei d (l ast visit e d
     M a y 1 8, 2 0 2 0).......................................................................................................................... 2 1
U. S. P T O, G e n er al I nf or m ati o n C o n c er ni n g P at e nts, a v ail a bl e at
     htt ps:// w w w. us pt o. g o v/ p at e nts- g etti n g -st art e d/ g e n er al -i nf or m ati o n-
     c o n c er ni n g - p at e nts # h e a di n g-1 (l ast visit e d M a y 1 8 , 2 0 2 0)..................................................... 1 5




                                                                          iv
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            N o v artis r es p e ctf ull y s u b mits its O p p ositi o n t o I n c yt e’s M oti o n t o Dis miss (t h e “ M oti o n ”) .

                                                      S U M M A R Y OF A R G U ME NT

            T his c as e gr o ws o ut of I n c yt e’s u n d er p a y m e nt of r o y alti es t o N o v artis i n i n cr e asi n g

m a g nit u d es     wit h e a c h p assi n g fis c al q u art er u n d er t h e p arti es’ C oll a b or ati o n a n d Li c e ns e
                                                                                                         1
A gr e e m e nt d at e d N o v e m b er 2 4, 2 0 0 9 (t h e “ A gr e e m e nt ”).                              Alt h o u g h at t he h e art of t h e

A gr e e m e nt, as s p ell e d o ut i n v ari o us w a ys, is t h e pri n ci pl e of c oll a b or ati o n ( w hi c h is f e at ur e d i n

its v er y titl e), I n c yt e h as h ar dl y f oll o w e d t h at pri n ci pl e b y usi n g N o v artis as a lif eli n e t o d e v el o p

a n d c o m m er ci ali z e a c o m p o u n d it dis c o v er e d , b ut t h e n s e e ki n g t o d e pri v e N o v artis of a n esti m at e d

billi o n d oll ars i n r o y alti es t o a c cr u e o v er t h e n e xt ei g ht y e ars t h at it c o ntr a ct u all y a gr e e d t o p a y.

            U n d er t h e A gr e e m e nt, I n c yt e — w hi c h h a d n e v er pr e vi o usl y br o u g ht a pr o d u ct t o m ar k et —

s h ar e d i nt ell e ct u al pr o p ert y wit h N o v artis a n d pr o vi d e d N o v artis with t w o e x cl usi v e li c e ns es t o

I n c yt e I P, i n cl u di n g its P at e nt Ri g hts. I n e x c h a n g e, N o v artis c o ntri b ut e d n e c ess ar y f u n di n g,

si g nifi c a nt t e c h ni c al a n d i n d ustr y e x p ertis e fr o m h a vi n g c o m m er ci ali z e d d o z e ns of p h ar m a c e uti c al

pr o d u cts , a n d a gl o b al s c al e of or g a n i z ati o n. As a fr a m e w or k f or all o c ati n g r es p o nsi biliti es r el ati n g

t o r u x oliti ni b, t h e A gr e e m e nt gr a nts I n c yt e e x cl usi v e ri g ht s t o m ar k et a n d s ell it as a Li c e ns e d

Pr o d u ct i n t h e U. S., as w ell as ri g ht s t o fil e, pr os e c ut e, a n d m ai nt ai n p at e nts pr ot e cti n g it. N o v artis,

f or its p art, w as gi v e n ri g hts t o c o m m er ci ali z e r u x oliti ni b e v er y w h er e els e . T h e p arti es als o a gr e e d

t o p a y e a ch ot h er r o y alti es b as e d o n Li c e ns e d Pr o d u ct s al es i n t h eir r es p e cti v e t errit ori es .

            F oll o wi n g e x e c uti o n of t h e               A gr e e m e nt , I n c yt e a nd            N o v artis s u c c essf ull y br o u g ht

r u x oliti ni b, br a n d e d as J a k afi i n t h e U. S., t o p ati e nts ar o u n d t h e w orl d wit h r ar e bl o o d c a n c ers a n d

ot h er r ar e c o n diti o ns. Si n c e J a k afi l a u n c h e d i n t h e U. S. i n 2 0 1 1, n et pr o d u ct r e v e n u es h a v e



1
   T er ms us e d h er ei n a n d n ot ot h er wis e d efi n e d s h all b e gi v e n t h e s a m e m e a ni n g as i n t h e A gr e e m e nt a n d its
a m e n d m e nts (t h e “ A gr. ”) , w hi c h is i n t h e r e c or d. ( R e c. D o cs. 3 6 (r e d a ct e d); 3 9 (s e al e d)). I n c yt e’s M e m or a n d u m of
L a w i n S u p p ort of its M oti o n ( R e c. D o c. 3 5) is r ef err e d t o h er ei n as “ M ot. ”

                                                                                 1
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i n cr e as e d t o o v er $ 1. 7 billi o n i n 2 0 1 9, ar e e x p e ct e d t o s ur p ass $ 2 billi o n i n 2 0 2 0, a n d ar e pr oj e ct e d

t o r e m ai n a b o v e t h at l e v el f or t h e n e xt ei g ht y e ars. C urr e ntl y, J a k afi is pr ot e ct e d fr o m c o m p etiti o n

i n t h e U. S. b e c a us e it is c o v er e d b y ( 1) ei g ht p at e nts, wit h t h e l ast s et t o e x pir e i n 2 0 2 8 ; a n d ( 2 )

t hr e e r e g ul at or y e x cl usi viti es gr a nt e d b y t h e U. S. F o o d a n d Dr u g A d mi nistr ati o n ( “ F D A ”), wit h

t h e l ast s et t o e x pir e i n 2 0 2 6. D es pit e , h o w e v er, t h e u n d e ni a bl e str e n gt h of J a k afi’s l o n g-t er m

m ar k et p ositi o n i n t h e U. S., I n c yt e is att e m pti n g a n e n d-r u n ar o u n d t h e e x pr ess t er ms of t h e

A gr e e m e nt b y mis a p pl yi n g w or ds t o wr o n gf ull y ( 1) i n v o k e a 5 0 % r o y alt y r e d u cti o n u n d er S e cti o n

8. 3( c) of t h e A gr e e m e nt (t h e “ St e p D o w n ”) a n d ( 2 ) c ut s h ort t h e R o y alt y T er m b y n e arl y a d e c a d e .

           F or a n y Li c e ns e d P r o d u ct s u bj e ct t o t h e A gr e e m e nt (i n cl u di n g J a k afi), t h e r o y alt y str e a m

l asts fr o m t h e d at e of First C o m m er ci al S al e i n t h e c o u ntr y of s al e u ntil t h e l ast of t hr e e

c o nti n g e n ci es: ( 1) t h e “l ast t o e x pir e of a n y V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts C o v eri n g s u c h

Li c e ns e d Pr o d u ct i n s u c h c o u ntr y ”; ( 2) t e n ( 1 0) f ull c al e n d ar y e ars; or ( 3) “t h e e x pir ati o n of

R e g ul at or y E x cl usi vit y f or s u c h Li c e ns e d Pr o d u ct. ”        H o w e v er, t h e St e p D o w n is tri g g er e d t o

r e d u c e r o y alti es ass o ci at e d wit h a n n u al N et S al es i n t h at c o u ntr y i n t h e e v e nt of eit h er ( 1) t h e

a bs e n c e of “ a V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts ” a n d “ R e g ul at or y E x cl usi vit y ” rel ati n g t o

t h e Li c e ns e d Pr o d u ct; or ( 2) t h e pr es e n c e of G e n eri c C o m p etiti o n. Alt h o u g h I n c yt e c o n c e d es, as

it m ust, t h at G e n eri c C o m p etiti o n d o es n ot e xist , it i m pr o p erl y i n v o k es t h e St e p D o w n f or U. S.

s al es of J a ka fi b y cl ai mi n g t h at t h er e is n eit h er a n y a p pli c a bl e “ V ali d Cl ai m of Li c e ns e d P at e nt

Ri g hts ” n or is J a k afi “s u bj e ct t o R e g ul at or y E x cl usi vit y . ” I n c yt e is wr o n g i n b ot h r es p e cts.

           Fi r st, a “ V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts ” e xists b e c a us e ei g ht p at e nts pr ot e ct J a k afi

i n t h e U. S. U n a bl e t o i g n or e t h os e p at e nts, I n c yt e i nst e a d i nt er pr ets “ V ali d Cl ai m of Li c e ns e d

P at e nt Ri g hts ” as li mit e d to sit u ati o ns w h er e a p at e nt t h at is li c e ns ed u n d er t h e A gr e e m e nt n ot o nl y

c o v ers t h e Li c e ns e d Pr o d u ct b ut a p pli es t o t h at pr o d u ct i n t h e s p e cifi c c o u ntr y w h er e t h e s al e o c c urs




                                                                        2
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a n d is p at e nt e d b y t h e n o n -C o m m er ci ali zi n g p art y.       B y its t er ms , “ Li c e ns e d P at e nt Ri g hts ” is

br o a d er t h a n I n c yt e c o nt e n ds, as it c o v ers a n y p at e nt li c e ns e d b et w e e n t h e p arti es u n d er t h e

A gr e e m e nt , irr es p e cti v e of w h er e t h e s al e of a Li c e ns e d Pr o d u ct is m a d e , w hi c h r e c o g ni z es t h e

f a ct t h at t h e p arti es’ c oll a b or ati o n is gl o b al . E v e n if I n c yt e’s c ou ntr y- s p e cifi c li mit ati o n w as

c r e dit e d (a n d it s h o ul d n ot b e ), I n c yt e e x pr essl y li c e ns e d all of its r u x oliti ni b p at e nts t o N o v artis,

i n cl u di n g as r el at e d t o J a k afi i n t h e U. S.    N or d o es I n c yt e’s li mit ati o n m a k e c o m m er ci al s e ns e

b e c a us e N o v artis, u n d er t h e A gr e e m e nt, i n v est e d lit er all y hu n dr e ds of milli o ns of d oll ars t o

s u p p ort gl o b al c oll a b or ati o n, y et I n c yt e w o ul d r e q uir e N o v artis t o its elf i n v e nt n e w i nt ell e ct u al

pr o p ert y, o bt ai n a p at e nt i n t h e U. S., a n d li c e ns e it t o I n c yt e i n t h e U. S. w h er e t h at p at e nt b e n efit s

I n c yt e’s C o m m er ci ali zati o n of J a k afi , i n or d er f or N o v artis t o c o nti n u e t o r e c ei v e 5 % i n r o y alti es

o n U. S. s al es— w hi c h is n ot c o nsist e nt wit h t h e fi n a n ci al all o c ati o n of ri g hts a n d r es p o nsi biliti es

f or t h e 5 % r o y alt y. T o artifi ci all y r estri ct t h e m e a ni n g of “ V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts , ”

as I n c yt e s e e ks t o d o, t o a n u nr e as o n a bl e sit u ati o n f or N o v artis w o ul d , as a pr a cti c al m att er,

e vis c er at e N o v artis’ r et ur n o n its i n v est m e nt b y n ullif yi n g t h e us e of t h e t er m i n S e cti o n 8. 3( c) as

( 1) a p ossi bl e e n d p oi nt f or d et er mi nin g t h e d ur ati o n of t h e R o y alt y T er m f or J a ka fi U. S. s al es a n d

( 2) a b asis f or a v oi di n g t h e St e p D o w n f or t h os e s al es. At t h e s a m e ti m e, I n c yt e’s r e a di n g w o ul d

ill o gi c all y s k e w i n its f a v or a l o n g er R o y alt y T er m f or e x -U. S. s al es wit h n o St e p D o w n.

           S e c o n d , “R e g ul at or y E x cl usi vit y ” e xists b e c a us e t hr e e r e g ul at or y e x cl usi viti es, i n cl u di n g

t w o s e p ar at e or p h a n dr u g d esi g n ati o ns, c o v er J a k afi’s tr e at m e nt of p ol y c yt h e mi a v er a ( “ P V ”) a n d

st er oi d-r efr a ct or y a c ut e gr aft - v ers us-h ost dis e as e ( “ G V H D ”) i n t h e U. S. E v e n s o, I n c yt e att e m pts

t o j ustif y t h e St e p D o w n b y r el yi n g u p o n t h e N o v e m b er 2 0 1 8 e x pir ati o n of t h e or p h a n dr u g

d esi g n ati o n r el ati n g t o m y el ofi br osis ( “ M F ”) , t h e t hir d c o n diti o n f or w hi c h J a k afi is i n di c at e d.

I n c yt e’s r eli a nc e o n t h e e x pir ati o n of a si n gl e d esi g n ati o n is mis pl a c e d, b ot h b e c a us e r o y alty




                                                                      3
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p a y m e nts ar e ti e d t o t h e Li c e ns e d Pr o d u ct ( n ot t o a n y o n e i n di c ati o n or c o n diti o n ) a n d b e c a us e t h e

Li c e ns e d Pr o d u ct r e m ai ns s u bj e ct t o e x cl usi viti es f or t h e tr e at m e nt of t w o si g nifi c a nt m e di c al

c o n diti o ns. N o b asis e xists t o pr et e n d a w a y t h e s e e x cl usi viti es t h at I n c yt e its elf s o u g ht fr o m F D A.

           F urt h er, “ R e g ul at or y E x cl usi vit y ” is d efi n e d a s t h e a bilit y t o e x cl u d e ot h er c o m p a ni es fr o m

“ C o m m er ci ali zi n g ” r u x oliti ni b, w hi c h , i n t ur n, is br o a dl y d efi n e d t o e n c o m p ass “ a n y ” eff orts

dir e ct e d at m ar k eti n g or s elli n g a dr u g ( as o p p os e d t o “ all, ” w hi c h t h e p arti es us e i n diff er e nt

c o nt e xts els e w h er e i n t h e A gr e e m e nt). H er e, t h e R e g ul at or y E x cl usi vit y still i n eff e ct f or t w o of

t hr e e c o n diti o ns — w hi c h, a g ai n, c a n n ot b e pr et e n d e d a w a y — s atisfi es t h at d efi niti o n, si n c e ot h er

c o m p a ni es ar e pr e cl u d e d fr o m m ar k eti n g or s elli n g r u x oliti ni b t o tr e at t h os e t w o c o n diti o ns i n t h e

U. S. T his r e m ai ns t h e c as e e v e n if n ot all ( as disti n ct fr o m “ a n y ” ) C o m m er ci ali z ati o n is pr o hi bit e d.

           E v e n asi d e fr o m pr e cis e w or di n g, b asi c c o m m er ci al l o gi c f urt h er b eli es I n c yt e’s r e a di n g of

t h e A gr e e m e nt. As str u ct ur e d, S e cti o n 8. 3( c) e x pr essl y ti es t h e d ur ati o n a n d r at e of r o y alti es t o

t h e Li c e ns e d Pr o d u ct e nj o yi n g a pr ot e ct e d p ositi o n , b e c a us e of p at e nts a n d/ or e x cl usi viti es, t o

g e n er at e hi g h m ar gi ns. T h us, G e n eri c C o m p etiti o n is a b asis f or t h e St e p D o w n as it o b vi o usl y

d e pr ess es m ar gi ns. If, o n t h e fli p si d e, n o p at e nts or e x cl usi viti es pr e cl u d e G e n eri c C o m p etiti o n

b ut s u c h c o m p etiti o n still h as n ot e m er g e d, it li k e wis e is cl e ar t h at m ar gi ns ar e t h e n u n attr a cti v e

or c o m p etiti o n ot h er wis e w o ul d e nt er.           As J a k afi s al es c o nti n u e t o s o ar i n t h e U. S., wit h n o

d etri m e nt al c h a n g e t o I n c yt e’s pr ot e ct e d m ar k et p ositi o n, it w o ul d b e ill o gi c al gi v e n w h at I n c yt e

v a g u el y c alls t h e “ b usi n ess d e al m e m ori ali z e d i n t h e A gr e e m e nt, ” M ot. at 2, t o tri g g er t h e St e p

D o w n or c urt ail t h e R o y alt y T er m i n t h es e cir c u mst a n c es.

           Alt h o u g h N o v artis’ i nt er pr et ati o n of S e cti o n 8. 3( c), as pl e d i n t h e C o m pl ai nt, is f a ci all y

c orr e ct , t h e C o urt n e e d n ot r es ol v e t h e q u esti o n of w hi c h p art y’s r e a di n g is ri g ht o n t h e M oti o n.

R at h er, I n c yt e h as t h e b ur d e n t o s h o w t h at N o v artis f ails t o e v e n off er “ a pl a usi bl e i nt er pr et ati o n.”




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Dr ess er -R a n d C o. v. I n g ers oll R a n d C o. , N o. 1 8-c v -3 2 2 5, 2 0 1 9 W L 1 4 3 4 5 7 5 , at *5- 6 ( S. D. N. Y.

M ar. 2 9, 2 0 1 9).     As N o v artis s o cl e arl y d o es at l e ast t h at , I n c yt e’s M oti o n s h o ul d b e d e ni e d.

               F A C T U A L B A C K G R O U N D A S P L E D I N N O V A R TI S’ C O M P L AI N T

                                       Gl o b al C oll a b or ati o n U n d er t h e A gr e e m e nt

           Pri or t o e nt eri n g i nt o t h e A gr e e m e nt , In c y t e di d n ot s ell or m ar k et a n y dr u g b ut h a d

“ dis c o v er e d a n d c o m m e n c e d D e v el o p m e nt of t h e Li c e ns e d C o m p o u n ds. ” A gr. a t 1; C o m pl. ¶ 1 .

I n c yt e r e c o g ni z e d th at it c o ul d n ot eff e cti v el y d e v el o p a n d c o m m er ci ali z e t h es e c o m p o u n ds o n its

o w n, pr o m pti n g its c oll a b or ati o n wit h N o v artis. I d. I n e x c h a n g e f or b ei n g gr a nt e d “t h e ri g ht t o

d e v el o p a n d c o m m er ci ali z e ” t h e s e c o m p o u n ds, N o v artis a gr e e d t o c o ntri b ut e n e c ess ar y f u n di n g ,

t e c h ni c al a n d i n d ustr y e x p ertis e, a n d a gl o b al s c al e of or g a ni z ati o n. A gr. at 1; C o m p l. ¶ ¶ 1, 1 4.

As f or f u n di n g, N o v artis a gr e e d t o p a y $ 1 5 0 milli o n u pfr o nt ,                 of t h e c osts ass o ci at e d wit h

d e v el o p m e nt a cti viti es a n d cli ni c al tri als,                                     mil es t o n e p a y m e nts i n v ari o us

f or ms, a n d r o y alti es. C o m pl. ¶ 1 4 ; A gr . at 3 3- 3 4 ( § 4. 3( a)) a n d 5 1-5 6 ( § § 8. 1 - 8.3( a) ). N o v artis’

c o ntri b uti o ns p er mitt e d t h e p arti es t o C o m m er ci ali z e r u x oliti ni b , w hi c h tr e ats t w o r ar e bl o o d

c a n c ers a n d a c o n diti o n t h at o c c urs aft er a n all o g e ni c tiss u e tr a ns pl a nt ( w h er e d o n or c ells att a c k

h ost or g a ns a n d/ or tiss u e). C o m pl. ¶ ¶ 2 3 - 2 4. I n a d diti o n, th e p arti es all o c at e d r es p o nsi bilit y f or

t h e m ar k eti n g a n d s al e of Li c e ns e d Pr o d u ct s c o v er e d b y t h e A gr e e m e nt , wit h t h e U. S. s al es of

r u x oliti ni b all o c at e d t o I n c yt e a n d all e x - U. S. s al es all o c at e d t o N o v artis. C o m pl. ¶ ¶ 2- 3, 1 4- 1 5.

I n c yt e’s P at e nts a n d th e Pr os e c uti o n a n d M ai nt e n a n c e of P at e nt Ri g hts U n d er t h e A gr e e m e nt

           Pri or t o e x e c uti o n, I n c yt e h a d alr e a d y fil e d a v ari et y of p at e nt a p pli c ati o ns r el ati n g t o its

dis c o v er e d c o m p o u n ds, i n cl u di n g p at e nt a p pli c ati o ns i n t h e U. S. p ert ai ni n g t o r u x oliti ni b. A gr. at

E x. A - 2. T h e c o m p o u n d p at e nt a p pli c ati o ns I n c yt e fil e d r el ati n g t o r u x oliti n i b w er e c at e g ori z e d

as t h e “I N C Y 0 0 3 9 ” gr o u p. I d. at 1 5 ( § 1. 1 0 7) a n d E x. A- 2. As t h e i n v e nt or of r u x oliti ni b, I n c yt e

e x pr essl y r es er v e d t h e ri g hts t o fil e, pr os e c ut e, a n d m ai nt ai n t h e I N C Y 0 0 3 9 P at e nt Ri g hts


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w orl d wi d e, as w el l as s ol e ri g hts t o fil e, pr os e c ut e, a n d m ai nt ai n S e c o n d ar y J A K P at e nt Ri g hts i n

t he            I d. a t 4 7 ( § 7. 2( c)). N o v artis w as l eft , at m ost , wit h a r e m ot e a bili t y— w hi c h is n o w h er e

e v e n e x pli citl y c o nt e m pl at e d wit hi n t h e A gr e e m e nt —t o i n v e nt , o n its o w n, s o m et hi n g n e w

p ert ai ni n g t o r u x oliti ni b a n d o bt ai n U. S. p at e nt pr ot e cti o n f or it. S e e i d. at 4 6 ( § 7. 2( a)).

                                                Li c e ns es Gr a nt e d U n d er t h e A gr e e m e nt

            As p art of t h eir c oll a b or ati o n, b ot h si d es iss u e d li ce ns es u n d er t h e A gr e e m e nt. A gr. at 1 8 -

1 9 ( § § 2. 1- 2. 2). I n c yt e’s e x cl usi v e li c e ns es gr a nt e d t o N o v artis w er e iss u e d “ u n d er I n c yt e I P. ” I d.

at 1 8 ( § 2. 1). “I n c yt e I P ” is e x pr essl y d efi n e d as “I n c yt e K n o w -H o w a n d I n c yt e P at e nt Ri g hts, ”

w hi c h ar e i n t ur n d efi n e d t o i n cl u d e “ all K n o w H o w ” a n d “ all P at e nt Ri g hts ” c o ntr oll e d b y I n c yt e

t h at ar e “ n e c ess ar y or us ef ul t o D e v el o p, m a n uf a ct ur e or C o m m er ci ali z e. ” I d. at 8 ( § § 1. 4 5 – 1. 4 7). 2

            K n o w n as t h e J A K Li c e ns e, o n e of t w o lic e ns e s gr a nt e d b y I n c yt e t o N o v artis c o v ers

r u xoliti ni b ( J a k afi i n t h e U. S. ). I d. at 1 8 ( § 2. 1( b) ). Alt h o u g h t h e J A K Li c e ns e e x cl u d es

C o m m er ci ali z ati o n a n d s al es i n t h e U. S. — c o nsist e nt wit h t h e s al es t errit or y all o c ati o n i n t h e

A gr e e m e nt , as t h os e ar e I nc yt e -o nl y a cti viti es — it e x pli citl y gr a nts a n u m b er of ot h er i m p ort a nt

ri g hts t o N o v artis i n t h e U. S. S e e C o m pl. ¶ ¶ 2 , 1 4 - 1 6; A gr. at 1 8 ( § 2. 1( b)). 3 T h us, I n c yt e P at e nt

R i g hts li c e ns e d t o N o v artis u n d er t h e J A K Li c e ns e n e c ess aril y i n cl u d es all p at e nts ass o ci at e d wit h

r u x oliti ni b— i n cl u di n g t h os e U. S. p at e nts c o v eri n g r u x oliti ni b as it is m ar k et e d a n d s ol d b y I n c yt e

i n t h e U. S. ( as J a k afi)— pr o vi d e d t h at N o v artis is n ot usi n g t h os e ri g hts t o att e m pt t o m ar k et a n d

s ell r u x oliti ni b i n I n c yt e’s t errit or y ( w hi c h it is n ot).




2
   “ P at e nt Ri g hts, ” i n t ur n, is br o a dl y d efi n e d t o i n cl u d e “ all p at e nts a n d p at e nt a p pli c ati o ns i n a n y c o u ntr y i n t h e
w orl d, ” wit h o ut r estri cti o n or ti m e li mit ati o n, a n d t h e d efi niti o n e n u m er at es e x a m pl es of s u bs e q u e nt s u b missi o ns
r el ati n g t o p at e nt a p pli c ati o ns or p at e nts t h at w o ul d b e i n cl u d e d wit hi n t his all -e n c o m p assi n g t er m. I d. at 1 3 ( § 1. 8 6).
3
  P urs u a nt t o t h e J A K Li c e ns e , I n c yt e gr a nt e d N o v artis a li c e ns e t o “r es e ar c h, D e v el o p, m a k e a n d h a v e m a d e J A K
Li c e ns e d C o m p o u n d s a n d J A K Li c e ns e d Pr o d u cts i n t h e I n c yt e T errit or y [( i. e., t h e U. S.)] f or t he s ol e p ur p os e of
usi n g, off eri n g f or s al e a n d s elli n g J A K Li c e ns e d Pr o d u cts i n, a n d i m p orti n g J A K Li c e ns e d C o m p o u n ds a n d J A K
Li c e ns e d Pr o d u cts i nt o, t h e N o v artis J A K T errit or y i n t h e J A K Fi el d [( i. e., i n all ot h er c o u ntri e s i n t h e w orl d)]. ” I d.


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           I n c yt e’s P at e nt Ri g hts i n t h e U. S. a n d Ot h er P at e nt Ri g hts C o v eri n g R u x oliti ni b

           Aft er t h e A gr e e m e nt w as e x e c ut e d , I n c yt e p urs u e d a d diti o n al p at e nt a p pli c ati o ns r el ati n g t o

r u x oliti ni b a cr oss t h e gl o b e, i n cl u di n g i n t h e U. S., s e c uri n g alt o g et h er ei g ht U. S. p at e nts t h at c o v er

a ll t hr e e a p pr o v e d i n di c ati o ns f or J a k afi (i n cl u di n g t h e c o m p o u n d p at e nt it h a d pr e vi o usl y a p pli e d

f or a n d w hi c h w as list e d o n E x hi bit A-2 t o t h e A gr e e m e nt) . C o m pl. ¶ ¶ 2 5 -2 6. T h e l at est e x pir ati o n

d at e f or t h es e p at e nts , all of w hi c h w er e li c e ns e d t o N o v artis u n d er t h e J A K Li c e ns e, is i n 2 0 2 8. I d.

             F D A - A p pr o v e d I n di c ati o ns a n d I n c yt e’s R e g ul at or y E x cl usi viti es i n t h e U. S.

           A p pr o xi m at el y t w o y e ars aft er t h e A gr e e m e nt w as m a d e eff e cti v e , o n N o v e m b er 1 6, 2 0 1 1,

I nc yt e r e c ei v e d a p pr o v al fr o m F D A f or t h e M F i n di c ati o n as w ell as a c orr es p o n di n g 7-y e ar or p h a n

dr u g e x cl usi vit y. I d. ¶ ¶ 6, 2 3, 2 9. I n c yt e’s First C o m m er ci al S al e of J a k afi f oll o w e d i n l at e 2 0 1 1.

I d. ¶ 3 1. I n c yt e s u bs e q u e ntl y o bt ai n e d a n F D A -a p pr o v e d i n di c ati o n f or P V o n D e c e m b er 4, 2 0 1 4 ,

a n d a t hir d F D A -a p pr o v e d i n di c ati o n f or G V H D o n M a y 2 4, 2 0 1 9. I d. ¶ 2 4. T h e F D A’s a p pr o v al s

of t h es e i n di c ati o ns w er e a c c o m p a ni e d b y or p h a n dr u g st at us, a n d G V H D w as als o pr o vi d e d a 3 -

y e ar N e w Cli ni c al I n v esti g ati o n ( “ N CI ”) e x c l usi vit y. I d. ¶ ¶ 2 4, 2 8. T h e d e v el o p m e nt a cti viti es a n d

cli ni c al tri als t h at s u p p ort e d t h e a p pli c ati o ns t o F D A w er e t h e r es ult of c oll a b or ati o n, wit h N o v artis

b ot h p a yi n g f or        a n d pr o vi di n g e x p ertis e. A gr. at 3 3- 3 4 ( § 4. 3( a)).

           F D A’s r e g ul ati o ns pr o vi d e t h at o n c e a s p o ns or o bt ai ns or p h a n dr u g st at us wit h r es p e ct t o

its dr u g t o tr e at a r ar e dis e as e or c o n diti o n, a n y s u bs e q u e nt p ers o n s e e ki n g F D A a p pr o v al t o m ar k et

t h e s a m e dr u g f or t h e s a m e dis e as e or c o n diti o n will b e pr e v e nt e d fr o m d oi n g s o f or 7 y e ars. S e e

2 1 C. F. R. § 3 1 6. 3( b)( 1 2); 2 1 C. F. R. § 3 1 6. 3 1. T his eff e cti v el y gr a nts a dr u g c o m p a n y a st at ut or y

e x cl usi vit y p eri o d of 7 y e ars d uri n g w hi c h it c a n m ar k et a n d s ell t h eir pr o d u ct t o tr e at a s p e cifi c

c o n diti o n wit h o ut t h e pr os p e ct of c o m p etiti o n. I nc yt e’s or p h a n dr u g e x cl usi vit y f or M F e x pir e d

o n N o v e m b er 1 6, 2 0 1 8. C o m pl. ¶ ¶ 2 3, 2 9. H o w e v er, its or p h a n dr u g e x cl usi viti es f or P V a n d

G V H D r e m ai n v ali d, e x piri n g i n 2 0 2 1 a n d 2 0 2 6, r es p e cti v el y. I d. ¶ ¶ 2 4, 2 8, 3 0.


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                                     T h e A gr e e m e nt’s Bil at er al R o y alt y Pr o visi o n

           T h e p arti es als o a gr e e d t o p a y e a c h ot h er r o y alti es b as e d o n dr u g s al es i n t h eir r es p e cti v e

t errit ori es (i. e., I n c yt e i n t h e U. S. a n d N o v artis els e w h er e). I d. ¶ 2.        W hil e t h e r o y alt y r at es t o b e

p ai d diff er ( wit h I n c yt e p a yi n g si g nifi c a ntl y l o w er r at es t h an N o v artis p a ys) , t h e p ar a m et ers

a p pl yi n g t o t h e p a y m e nt of r o y alti es b as e d o n pr o d u ct s al es i n a n y c o u ntr y, i n cl u di n g t h e l e n gt h

o f ti m e r o y alti es ar e t o b e p ai d a n d t h e li mit e d cir c u mst a n c es u n d er w hi c h a 5 0 % r e d u cti o n is

tri g g er e d p urs u a nt t o t h e St e p D o w n , ar e bil at er al. S e e i d. ¶ ¶ 1 4 - 1 7.

           S e cti o n 8. 3( c) of t h e A gr e e m e nt st at es t h at r o y alti es s h all b e p ai d b y I n c yt e or N o v artis, as

a p pli c a bl e, o n a p er -pr o d u ct a n d p er -c o u ntr y b asis fr o m t h e d at e of First C o m m er ci al S al e of a

dr u g i n t h at c o u ntr y u ntil o n e of t hr e e p ossi bl e e n d p oi nts, w hi c h e v er r es ults i n “ a p eri o d w hi c h is

t h e l o n g er” R o y alt y T er m. C o m pl. ¶ ¶ 5, 1 7; A gr . at 5 7 ( § 8. 3 ( c)) ( e m p h asis a d d e d). B y s el e cti n g

t h e “l o n g er ” of t h e e n d p oi nts, t his str u ct ur e i n c e nti vi z es a n d r e c o g ni z es c oll a b or ati o n a cr oss all

s al es t errit ori es. S e e i d. T h e t hr e e e n d p oi nts ar e (i) t h e “l ast t o e x pir e of a n y V ali d Cl ai m of

Li c e ns e d P at e nt Ri g hts C o v eri n g s u c h Li c e ns e d Pr o d u ct i n s u c h c o u ntr y ”; (ii) “t e n ( 1 0) y e ars

f oll o wi n g t h e d at e of First C o m m er ci al S al e i n s u c h c o u ntr y, ” or (iii) “t h e e x pir ati o n of R e g ul at or y

E x cl usi vit y f or s u c h Li c e ns e d Pr o d u ct i n s u c h c o u ntr y . ” C o m pl. ¶ ¶ 5, 1 7; A gr. at 5 7 ( § 8. 3( c)).

           S e cti o n 8. 3( c) als o i n cl u d es t h e St e p D o w n, w hi c h pr o v i d es f or a 5 0 % r e d u cti o n i n r o y alti es

if th e R o y alt y T er m o nl y e xists p urs u a nt t o e n d p oi nt (ii) , i. e., t h e mi ni m u m 1 0- y e ar p eri o d . I d. I n

t h at c as e, t h e dr u g is l ess v al u a bl e eit h er b e c a us e it f a c es G e n eri c C o m p etiti o n or it h as n o p at e nt

or e x cl usi vit y pr ot e cti o ns ( b ut G e n eri c C o m p etiti o n d o es n ot e xist pr es u m a bl y d u e t o u n attr a cti v e

m ar gi ns). S e e C o m pl. ¶ ¶ 5- 6, 1 9- 2 0. I n p erti n e nt p art, t h e St e p D o w n pr o vi d es:

                  . . . i n t h e e v e nt t h at eit h er ( A) t h e R o y alt y T er m c o nti n u es s ol el y d u e t o
                  cl a us e (ii) (i. e. i n a s p e cifi c c o u ntr y t h e Li c e ns e d Pr o d u ct is n eit h er C o v er e d
                  b y a V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts n or is s u c h Li c e ns e d Pr o d u ct
                  s u bj e ct t o R e g ul at or y E x cl usi vit y) or ( B) G e n eri c C o m p etiti o n e xists wit h
                  r es p e ct t o a Li c e ns e d Pr o d u ct i n a c o u ntr y wit h r es p e ct t o a r o y alt y-r e p orti n g


                                                                       8
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                     p eri o d, t h e n t h e r o y alt y r at es i n s u c h c o u ntr y f or s u c h Li c e ns e d Pr o d u ct (f or
                     s u c h r o y alt y-r e p orti n g p eri o d, if a p pli c a bl e) will b e r e d u c e d t o fift y p er c e nt
                     ( 5 0 %) of t h e a p pli c a bl e r at e i n S e cti o n 8. 3( a) or 8. 3( b) . . .

C o m pl. ¶ 1 8 ; A gr. at 5 7 ( § 8. 3( c)) ( e m p h asis a d d e d).

            T h us, t h e St e p D o w n c a n b e i n v o k e d b y t h e p a y or ( 1) if t h er e is n o b arri er t o e ntr y t o t h e

m ar k et f or a h y p ot h eti c al c o m p etit or, or ( 2) if at l e ast o n e g e n eri c c o m p etit or h as alr e a d y e nt er e d

t h e m ar k et a n d t h e r o y alt y p a y or h as l ost at l e ast                               of t h e m ar k et s h ar e f or t h e dr u g. S e e

A gr. at 7- 8 ( § 1. 4 0) a n d 5 7 ( § 8. 3( c)). As it m ust, I n c yt e c o n c e d es th e s e c o n d p ossi bl e s c e n ari o

t o tri g g er t h e St e p D o w n, i n v ol vi n g G e n eri c C o m p etiti o n, h as n ot o c c urr e d h er e . S e e M ot. at 8 .

O nl y t h e firs t p ossi bl e s c e n ari o is at iss u e wit h r es p e ct t o I n c yt e’s s al es of J a k afi i n t h e U. S.

                           As J a k afi S al es S o ar, I n c yt e I m pr o p erl y I n v o k es t h e St e p D o w n

            I nc yt e’s s al es of J a k afi h a v e i n cr e as e d dr a m ati c all y si n c e J a k afi w as first a p pr o v e d b a c k i n

l at e 2 0 1 1. C o m pl. ¶ 3 3. I n c yt e r e p ort e d $ 2, 0 1 2, 0 0 0 i n n et pr o d u ct r e v e n u es t o t h e U. S. S e c uriti es

& E x c h a n g e C o m mis si o n ( “ S E C ”) f or t h e 2 0 1 1 fis c al y e ar. I d. C o m p ar ati v el y, I n c yt e r e p ort e d i n

its a n n u al 1 0-K fili n g t h at it h a d a p pr o xi m at el y $ 1. 4 billi o n i n n et pr o d u ct r e v e n u es f or J a k afi al o n e

i n 2 0 1 8 a n d $ 1. 7 billi o n i n n et pr o d u ct r e v e n u es f or J a k afi i n 2 0 1 9. 4 I n c yt e als o r e p ort e d t o its

in v est ors at t h e ti m e of iss ui n g its 2 0 1 9 fis c al y e ar r es ults t h at it pr oj e ct e d n e arl y $ 2 billi o n i n n et

pr o d u ct r e v e n u es f or J a k afi f or t h e 2 0 2 0 fis c al y e ar. I n c yt e’s M a y 5, 2 0 2 0 pr ess r el e as e, r e p orti n g

o n t h e first q u art er of 2 0 2 0, h as a d vis e d t h at its n et pr o d u ct s al es f or J a k afi h a v e g o n e u p 2 2 % as

c o m p ar e d t o t h e first q u art er of 2 01 9.                    Si n c e t h e l oss of t h e M F or p h a n dr u g d esi g n ati o n i n

N o v e m b er 2 0 1 8, I n c yt e’s n et pr o d u ct r e v e n u es ( as r e p ort e d t o t h e S E C) a n d N et S al es ( as r efl e ct e d



4
  I n r uli n g o n t h e M oti o n, p urs u a nt t o F e d. R. E vi d. 2 0 1, t his C o urt m a y c o nsi d er d o c u m e nts p u bli cl y fil e d wit h t h e
S E C , g o v er n m e nt a g e n c y w e b sit es, a n d i nf or m ati o n p u bli cl y a n n o u n c e d s u c h as o n a p art y’s o w n w e bsit e. E. g., I n r e
A m eri c a n I nt ’l Gr p., I n c, 2 0 0 8 S e c. Liti g ., 7 4 1 F. S u p p. 2 d 5 1 1, 5 1 9, 5 2 9 ( S. D. N. Y. 2 0 1 0) (t a ki n g j u di ci al n oti c e of
“ p u bli c fili n gs ” s u c h as S E C dis cl os ur es). T h e s al es fi g ur e s a n d d at a r ef er e n c e d h er ei n ar e b as e d o n I n c yt e’s 1 0 -K f or
t h e 2 0 1 9 fis c al y e ar a n d M a y 5, 2 0 2 0 a n d F e br u ar y 1 3, 2 0 2 0 pr ess r el e as es, all of w hi c h ar e p u bli cl y a v ail a bl e o n
I n c yt e’s w e bsit e. S e e I n c yt e, F or I n v est ors, htt ps://i n v est or.i n c yt e. c o m/i n v est or -r el ati o ns (l ast visit e d M a y 1 8, 2 0 2 0).


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i n its r o y alt y r e p orti n g t o N o v artis) h a v e o nl y c o nti n u e d t o ris e s u bst a nti all y.5

             A p pr o xi m at el y t w o fis c al q u art ers aft er t h e l oss of t h e M F or p h a n dr u g d esi g n ati o n, I n c yt e

u nil at er all y a p pli e d, wit h s al es es c al ati n g, t h e St e p D o w n t o its r o y alt y p a y m e nts o w e d t o N o v artis,

c utti n g t h e a m o u nt i n h alf. C o m pl. ¶ ¶ 3 7 - 3 8. N o v artis pr o m ptl y dis p ut e d I n c yt e’s St e p D o w n

i nt er pr et ati o n, l e a di n g e v e nt uall y t o t his liti g ati o n. I d. ¶ ¶ 3 9 , 4 5- 4 7.
                                                                                                  6
                                                                       A R G U ME NT

             As C o urts i n t his Distri ct re p e at e dl y h a v e h el d, t h e “ o nl y t as k b ef or e t h e C o urt ” i n

c o nsi d eri n g a F e d. R. Ci v. P. 1 2( b)( 6) m oti o n pr e di c at e d o n a d ef e n d a nt’s c o m p eti n g c o ntr a ct u al

i nt er pr et ati o n is t o d et er mi n e                 w h et h er t h e pl ai ntiff “st at e[s] a pl a usi bl e cl ai m ” t h at “ its

i nt er pr et ati o n of t h e c o ntr a ct is t h e c orr e ct o n e. ” C ol u m bi a C as. C o. v. N ei g h b or h o o d Ris k M g mt.

C or p. , N o. 1 4-c v -0 0 4 8, 2 0 1 5 W L 3 9 9 9 1 9 2 , at *9 ( S. D. N. Y. J u n e 2 9, 2 0 1 5) ( e m p h asis a d de d); s e e

als o Dr ess er - R a n d, 2 0 1 9                  W L 1 4 3 5 7 5, at * 5 ( d e n yi n g m oti o n t o dis miss b e c a us e pl ai ntiff

“ off er[ e d] a pl a usi bl e i nt er pr et ati o n, b as e d u p o n t h e c o ntr a ct’s o p er ati v e pr o visi o ns ”); Cl ar e n d o n

N at’l I ns. C o. v. H e alt h Pl a n A d m’rs , N o. 0 8-c v -6 2 7 9, 2 0 0 9 W L 3 0 5 3 7 3 6 , at *3 ( S. D. N. Y. S e pt.

2 4, 2 0 0 9) ( d e n yi n g m oti o n t o dis miss c o ntr a ct cl ai m w h er e t h e p arti es “ dr a w diff er e nt c o n cl usi o ns

as t o t h e s p e cifi c d uti es t h e a gr e e m e nts i m p os e ”).

             Alt h o u g h t h e pl ai n l a n g u a g e of t h e A gr e e m e nt, o n its f a c e, c o nfir ms t h e i n a p pli c a bilit y of

t h e St e p D o w n i n t h e pr es e nt cir c u mst a n c es, N o v artis at t his st a g e o nl y n e e ds t o s et f ort h a

“ pl a usi bl e ” c o ntr a ct i nt er pr et ati o n, w hi c h it m or e t h a n a m pl y d o es. P ut diff er e ntl y, t his C o urt

“ n e e d n ot d e ci d e t h e c orr e ct i nt er pr et ati o n of [t h e A gr e e m e nt] at t his st a g e. ” C ol u m bi a C as. C o. ,




5
    Alt h o u g h I n c yt e as a distr a cti o n r ef er e n c es N o v artis’ pr ofits, s e e M ot. at 1 0, N o v artis h as c o nsist e ntl y p ai d r o y alt y
p a y m e nts f or e x -U. S. s al e s t o I n c yt e . C o m pl. ¶ 3. I n d e e d, it d o es s o at a si g nifi c a ntl y hi g h er r o y alt y r at e t h a n I n c yt e
p a ys N o v artis. T h e iss u e, h o w e v er, is n ot a b o ut g e n er ati n g pr ofits, b ut a b o ut t h e c o ntr a di cti o n b et w e e n i n cr e asi n g
r e v e n u es a n d I n c yt e’s cl ai m of a St e p D o w n i n t he s e f a v or a bl e cir c u mst a n c es i n vi ol ati o n of its c o ntr a ct u al o bli g ati o ns.
6
  T h e p arti es a gr e e t h at th e A gr e e m e nt is t o b e c o nstr u e d u n d er N e w Y or k l a w. S e e M ot. at 1 3; A g r. at 7 5-7 6 ( § 1 4. 1).


                                                                                   10
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2 0 1 5 W L 3 9 9 9 1 9 2 , at *9 ( e m p h asis a d d e d).                     N or d o es t h e li mit e d iss u e b ef or e t h e C o urt o n t h e

M oti o n c h a n g e si m pl y b e c a us e e a c h si d e cl ai ms t h at t h e A gr e e m e nt is u n a m bi g u o us i n its f a v or.

S e e, e. g. , Citi b a n k, N. A. v. J a c o bs e n, N o. 1 9 -c v -9 5 9, 2 0 2 0 W L 1 5 0 3 2 2 9, at * 7 ( S. D. N. Y. M ar. 3 0,

2 0 2 0) ( d e n yi n g m oti o n t o dis miss br e a c h of c o ntr a ct cl ai m, n oti n g t h at “[t] h e C o urt n e e d n ot d e ci d e

n o w as b et w e e n w h et h er t h e t er m is a m bi g u o us or u n a m bi g u o us i n its i n cl usi o n o f t h e l o a n

r e p a y m e nt o bli g ati o n ”); s e e als o A m eri c a n Bl d g. M ai nt . C o. of N . Y. v. A c m e Pr o p . S er vs ., I n c. et

al. , 5 1 5 F. S u p p. 2 d 2 9 8, 3 1 1 ( N. D. N. Y. A u g. 2 9, 2 0 0 7) ( d e n yi n g m oti o n t o dis miss br e a c h of

c o ntr a ct cl ai m b e c a us e t h e p arti es’ “ c o nfli cti n g i nt er pr et ati o ns [ of t h e c o ntr a ct] m e a n t h at A B M is

e ntitl e d t o pr es e nt e vi d e n c e t o t h e f a ct fi n d er r e g ar di n g t h e p arti es’ i nt e nti o ns ”).

             As a r e d h erri n g, I n c yt e s e e ks t o b olst er its p ositi o n b y citi n g t h e A gr e e m e nt’s i nt e gr ati o n

cl a us e.      M ot. at 9. B ut t h at cl a us e is of n o m o m e nt b e c a us e N o v artis d o es n ot s e e k t o “ a d d t o or
                                                                                                                  7
v ar y ” c o ntr a ct t er ms, alt h o u g h t h e s a m e c a n n ot b e s ai d of I n c yt e.                       D es pit e p a yi n g li p s er vi c e t o

“t h e f o ur c or n ers of t h e A gr e e m e nt, ” M ot. at 5, I n c yt e s e e ks t o v ar y t er ms b y r es orti n g t o dis p ut e d

ass erti o ns a b o ut h y p ot h eti c al s c e n ari os, i m pli cit u n d erst a n di n gs, a n d p ur p ort e d e xtri nsi c

cir c u mst a n c es, a n d t h us c a n n ot c arr y its b ur d e n o n t his M oti o n. I n c yt e’s re p e at e d r ef er e n c es t o

t h e p ur p ort e d “t e n or a n d q u a nt u m ” of r o y alti es o w e d ( w h at e v er t h at m e a ns), M ot. at 1, 8, 1 3 - 1 6,

is n ot e n o u g h , eit h er.

             H er e , t h e all e g ati o ns i n t h e C o m pl ai nt ar e a c c e pt e d as tr u e a n d “ a n y c o ntr a ct u al

a m bi g uiti es ” ar e r es ol v e d i n N o v artis’ f a v or. I nt’l B usi n ess M a c hs . C or p. v. S m a di , N o. 1 4-c v -

4 6 9 4, 2 0 1 5       W L 8 6 2 2 1 2, at * 4 ( S. D. N. Y. M ar. 2, 2 0 1 5) ( cit ati o n o mitt e d) (fi n di n g “r e c o v er y




7
   S e e, e. g. , M att er of Pri m e x I nt'l C or p. v. W al -M art St or es , 8 9 N. Y. 2 d 5 9 4, 5 9 9-6 0 1 ( 1 9 9 7) (i nt e gr ati o n cl a us e will
b ar e xtri nsi c e vi d e n c e u n d er p ar ol e vi d e n c e r ul e o nl y if it h a s t h e eff e ct of “ v ar y]i n g] or c o ntr a di ct[i n g] t h e t er m s of
t h e writi n g ”); T el e m u n d o Gr p ., I n c. v. Al d e n Pr ess, I n c., 1 8 1 A. D. 2 d 4 5 3, 4 5 5 ( 1st D e p’t 1 9 9 2) ( “ E xtri nsi c or p ar ol
e vi d e n c e is a d missi bl e n ot wit hst a n di n g s u c h a cl a us e w h er e it w o ul d n ot m o dif y or c o ntr a di ct t h e t er ms of t h e c o ntr a ct,
b ut w o ul d e x pl ai n a m bi g uiti e s i n t h e c o ntr a ct ”) ( cit ati o n a n d i nt er n al q u ot ati o n m ar ks o mitt e d).


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c a n n ot b e li mit e d b y d ef e n d a nt’s i nt er pr et ati o n at t his e arl y st a g e ”).    A g ai nst t his st a n d ar d, t h er e

c a n b e n o s eri o us q u esti o n t h at N o v artis’ i nt er pr et ati o n m or e t h a n s atisfi es t h e pl a us i bilit y st a n d ar d

s et f ort h i n B ell Atl. C or p. v. T w o m bl y , 5 5 0 U. S. 5 4 4 ( 2 0 0 7) a n d As h cr oft v. I q b al , 5 5 6 U. S. 6 6 2

( 2 0 0 9).        W hil e N o v artis is hi g hl y c o nfi d e nt i n t h e m erits of its p ositi o ns, as pl e d i n t h e C o m pl ai nt ,

t h e p arti es’ sh ar p diff er e n c es as t o t h e i nt er pr et ati o n of a c o m pl e x c o ntr a ct, c o u pl e d wit h t h e

m a g nit u d e of r o y alti es at st a k e , m a k e t his c as e a p pr o pri at e f or f urt h er d e v el o p m e nt.

I.            N O V A R TI S S U F FI CI E N T L Y P L E A D S A “ V A LI D C L AI M                                  OF      LI C E N S E D
              P A T E N T RI G H T S ” T O P R E C L U D E T H E S T E P D O W N

              A.          “ Li c e ns e d P at e n t Ri g hts ” E n c o m p ass es All P at e nts C o v e ri n g J a k afi

              T h e A gr e e m e nt is cl e ar t h at if “ a n y V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts ” c o v ers t h e

Li c e ns e d Pr o d u ct s ol d i n a p arti c ul ar c o u ntr y, t h e St e p D o w n d o es n ot a p pl y.              S e e A gr. at 5 7

( § 8. 3( c)(i)). As J a k afi i s s u bj e ct t o t h e pr ot e cti o n of ei g ht v ali d U. S. p at e nts o w n e d b y I n c yt e, s e e

C o m pl. ¶ 2 6 a n d M ot . at 1 3, n o b asis e xists t o i n v o k e t h e St e p D o w n as t o t h e U. S. s al es of J a k afi.

              As d efi n e d, “ Li c e ns e d P at e nt Ri g hts ” br o a dl y e n c o m p ass es b ot h “ P at e nt Ri g hts l i c e ns e d

t o N o v artis h er e u n d er ” a n d “ P at e nt Ri g hts Li c e ns e d t o I n c yt e h er e u n d er. ” A gr. at 1 0 (§ 1. 6 7). T h e

t er m t h us br o a dl y i n cl u d es all P at e nt Ri g hts, irr es p e cti v e of w hi c h p art y t o t h e A gr e e m e nt o w ns

a n u n d erl yi n g p at e nt a n d w hi c h p art y is gr a nt e d a li c e ns e t o it . Gi v e n t h at, as I n c yt e n ot es, s e e

M ot. at 1 5, “ Li c e ns e d P at e nt Ri g hts ” is o nl y us e d i n S e cti o n 8. 3( c), it n e c ess aril y e n c o m p ass es all

P at e nt Ri g hts li c e ns e d b y eit h er p art y t o t h e ot h er b e c a us e t h e A gr e e m e nt’s r o y alt y pr o visi o n

a p pli es bil at er all y t o r o y alti es p a y a bl e b y eit h er si d e f or a n y pr o d u ct c o m m er ci ali z e d u n d er t h e

A gr e e m e nt i n a n y c o u ntr y . S e e A gr. at 1 0 ( § 1. 6 7) a n d 5 7 ( § 8. 3( c)(i)); C o m pl. ¶ ¶ 1 7, 1 9.

              D es pit e t h e br o a dl y -w or d e d s c o p e of “ Li c e ns e d P at e nt Ri g hts, ” I n c yt e c o nt e n ds t h at, as

us e d i n S e cti o n 8. 3( c)(i), t h e t er m is li mit e d t o cir c u mst a n c es w h er e t h e P at e nt Ri g hts ar e li c e ns e d

u n d er t h e A gr e e m e nt f or us e i n t h e c o u ntr y b y t h e s ell er w h er e t h e s al es of a Li c e ns e d Pr o d u ct



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o c c ur. E v e n if I n c yt e w er e c orr e ct as t o t h e st at us of P at e nt Ri g hts b ei n g li c e ns e d i n t h e U. S. (it is

n ot , as e x pl ai n e d b el o w), I n c yt e’s o v erl y n arr o w c o nstr u cti o n still f ails f or s e v er al r e as o ns.

           Fi rst , I n c yt e’s i nt er pr et ati o n of “ V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts ” i m p er missi bl y

a d ds a d diti o n al li mit ati o ns i nt o S e cti o n 8. 3( c) t h at ar e n ot s et f ort h i n t h e A gr e e m e nt. I n c yt e

mis c o nstr u es t h e w or di n g i n S e cti o n 8. 3( c)(i) t o m e a n t h at t h e Li c e ns e d P at e nt Ri g hts m ust b e

li c e ns e d i n t h e c o u ntr y w her e t h e s al e of a Li c e ns e d Pr o d u ct o c c ur s, a n d t h us li c e ns e d t o t h e p art y

all o c at e d t h e r es p o nsi bilit y of C o m m er ci ali zi n g t h at Li c e ns e d Pr o d u ct i n t h at c o u ntr y. S e e M ot.

at 2- 3, 1 5- 1 6 . B ut t h at is n ot w h at t h e r o y alt y pr o visi o n s a ys. T h e p hr ase “i n s u c h c o u ntr y ” r el at es

t o t h e g e o gr a p hi c al r e gi o n of w h er e a Li c e ns ed Pr o d u ct is b ei n g s ol d, n ot t h e g e o gr a p hi c s c o p e of

a li c e ns e b ei n g gr a nt e d u n d er t h e A gr e e m e nt. T h e A gr e e m e nt d o es n ot s a y, as I n c yt e c o nt e n ds,

t h at t h e Li c e ns e d P at e nt Ri g hts m ust b e h el d b y t h e n o n-s elli n g p art y, t h at t h e y m ust b e li c e ns e d

t o t h e s ell er p art y, a n d t h at t h e y m ust c o v er t h e Li c e ns e d Pr o d u ct s al es i n a p arti c ul ar c o u ntr y. If

t h e Li c e ns e d Pr o d u ct ( i. e., t h e dr u g b ei n g s ol d) is pr ot e ct e d fr o m c o m p etiti o n b y Li c e ns e d P at e nt

Ri g hts ( i. e., t h e P at e nt Ri g hts s u bj e ct of t h e A gr e e m e nt a n d li c e ns e d b y t h e p arti es t o o n e a n ot h er),

t h e n a “ V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts ” e xists irr es p e cti v e of w h et h er t h e ri g hts ar e

li c e ns e d t o t h e s ell er i n t h e pl a c e of s al e or n ot— r efl e cti n g t h e gl o b al c oll a b or ati o n b et w e e n t h e

p arti es, si n c e N o v a rtis’ f u n din g a n d e x p ertis e ai d e d C o m m er ci ali z ati o n of r u x oliti ni b br o a dl y.

           S e c o n d , t h e str u ct ur e of S e cti o n 8. 3( c) r ef ut es I n c yt e’s n arr o w r e a di n g. N ot a bl y , t h e w or d

“ a n y ” m o difi es “ V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts ” t o c o nfir m t h at “ a n y ” P at e nt Ri g hts

li c e ns e d u n d er t h e A gr e e m e nt, i n cl u di n g if li c e ns e d o utsi d e of t h e g e o gr a p h y of s al e, s atisfi es t h e

m e a ni n g of t h e t er m.    S e e als o i nfr a at P art II( C) ( d es cri bi n g pl ai n m e a ni n g of “ a n y ” a n d t h e us e

of t h at w or d i n t h e A gr e e m e nt).          F urt h er, S e cti o n 8. 3( c) m or e g e n e r all y s ets f ort h a m ut u al

fr a m e w or k t o m a xi mi z e r o y alti es wit hi n c ert ai n p ar a m et ers— w hi c h a c k n o wl e d g es b ot h si d es’




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m at eri al al b eit diff er e nt c o ntri b uti o ns as p art of gl o b al c oll a b or ati o n a n d C o m m er ci ali z ati o n — b y

li n ki n g t h e d ur ati o n of t h e R o y alt y T er m t o t h e “ p eri o d w hi c h is t h e l o n g er of ” t hr e e e n d p oi nts.

           T hi r d , I n c yt e’s ar g u m e nt is b eli e d b y t h e c o m m er ci al l o gi c of t h e A gr e e m e nt. S e e, e. g. ,

C ol u m bi a C as. C o. , 2 0 1 5 W L 3 9 9 9 1 9 2 at * 7- 8 ( hi g hli g hti n g t h at b usi n ess p ur p os e(s) a n d “t h e

c o nt e xt of t h e       w h ol e c o ntr a ct ”     m ust b e c o nsi d er e d i n e v al u ati n g c o m p eti n g c o ntr a ct u al

i nt er pr et ati o ns). T h e ri g hts c o nstit uti n g “ Li c e ns e d P at e nt Ri g hts ” eff e cti v el y pr e v e nt c o m p etiti o n

wit h t h e Li c e ns e d Pr o d u ct i n a n y c o u ntr y w h er e t h os e ri g hts a p pl y. I n t h e a bs e n c e of c o m p etiti o n

i n t h at c o u ntr y, t h e p arti es a gr e e d i n S e cti o n 8. 3( c) t o m ai nt ai n r o y alti es at n o n-dis c o u nt e d r at es

si n c e b ot h si d es c o ntri b ut e d , al b eit i n diff er e nt w a ys, t o a c hi e vi n g t h at e n vi a bl e m ar k et p ositi o n.

S o l o n g as v ali d p at e nts s u bj e ct t o t h e A gr e e m e nt ar e pr ot e cti n g Li c e ns e d Pr o d u ct s al es i n a n y

c o u ntr y, it is irr el e v a nt w h et h er t h os e p at e nts ar e b ei n g li c e ns e d i n t h at c o u ntr y t o t h e ot h er p art y.

            H a d t h e p arti es m e a nt t o i m p os e a r e q uir e m e nt t h at “ a n y V ali d Cl ai m of Li c e ns e d P at e nt

Ri g hts ” o nl y c o v ers t h e sit u ati o n w h er e t h e s ell er of t h e dr u g i n a c o u ntr y is t h e li c e ns e e of P at e nt

Ri g hts c o v eri n g t h at dr u g, t h e pr o visi o n c o ul d a n d w o ul d h a v e cl e arl y s ai d s o— b ut it d o es n ot.

           B.         T h e J A K Li c e ns e P r o vi d es F o r “ Li c e ns e d P at e nt Ri g hts ” i n t h e U. S.

           As t o J a k a fi, I n c yt e c o nt e n ds t h at n o “ V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts ” e xists

b e c a us e p ur p ort e d “ dir e cti o n alit y ” i n t h at d efi n e d t er m r e q uir es t h at p at e nts b e li c e ns e d i n t h e U. S.

( w hi c h is n ot w h at t h e t er m s a ys). S e e M ot. at 1 5- 1 6 . E v e n ass u mi n g I n c yt e’s pr e mis e , I n c yt e’s

ar g u m e nt still f ails b e c a us e t h e J A K Li c e ns e c o v eri n g J a k afi e x pr essl y li c e ns es P at e nt Ri g hts i n

t h e U. S. t o N o v artis. D es pit e w h at I n c yt e tri es t o r e a d i n, n ot hi n g i n t h e d efi niti o n of “ Li c e ns e d

P at e nt Ri g hts ” t ur ns o n w h et h er t h e s ell er of a Li c e ns e d Pr o d u ct i n a p arti c ul ar c o u ntr y is t h e

li c e ns or or t h e li c e ns e e wit h r es p e ct t o a n y a p pli c a bl e P at e nt Ri g hts.

           U n d er t h e J A K Li c e ns e, all I n c yt e P at e nt Ri g hts w er e li c e ns e d t o N o v artis gl o b all y. A gr.

at 1 8 ( § 2. 1( b)).        Wit h r es p e ct t o t h e U. S. s p e cifi c all y, N o v artis o bt ai n e d a n e x cl usi v e li c e ns e


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“ u n d er I n c yt e I P ” ( a n d n e c ess aril y t o I n c yt e P at e nt Ri g hts) t o “r es e ar c h, D e v el o p, m a k e a n d h a v e

m a d e ” r u x oliti ni b a n d its c orr es p o n di n g c o m p o u n ds i n t h e U. S. t o us e, m ar k et, i m p ort, a n d

ulti m at e l y s ell t h e m els e w h er e. I d. T his br o a d li c e ns e f or U. S. P at e nt Ri g hts m a k es s e ns e wit hi n

t h e fr a m e w or k of t h e              A gr e e m e nt, as N o v artis r et ai n e d t h e a bilit y t o u n d ert a k e r es e ar c h,

d e v el o p m e nt, m a n uf a ct uri n g a n d c ert ai n ot h er t as ks i n f urt h er a n c e of c oll a b or ati o n gl o b all y a n d

its e x-U. S. C o m m er ci ali z ati o n , e v e n if t h e U. S. w as n ot its all o c at e d s al es t errit or y f or r u x oliti ni b .

             I n c yt e’s c h ar a ct eri z ati o n of t h e J A K Li c e ns e as a “li mit e d li c e ns e, ” s e e M ot. at 1 6 n. 8, d o es

n ot c h a n g e t h e f a ct t h at N o v artis h as Li c e ns e d P at e nt Ri g hts f or J a k afi i n t h e U. S. I n c yt e c a n n ot

i g n or e t h e U. S. c o m p o n e nt of t h e J A K Li c e ns e t o c o nt e n d t h at n o “ Li c e ns e d P at e nt Ri g hts ” e xist

i n t h e U. S. f or p ur p os es of S e cti o n 8. 3( c) r o y alti es.

             C.           I n c yt e’s C o u nt r y -S p e cifi c Li mit ati o n D efi es C o m m e r ci al L o gi c

             I n a f urt h er str et c h t o a p pl y t h e St e p D o w n, I n c yt e c o nt e n ds t h at t h e o nl y “ Li c e ns e d P at e nt

Ri g hts ” t o c o nsi d er ar e “ N o v artis P at e nt Ri g hts t h at w o ul d h a v e b e n efit e d I n c yt e i n t h e I n c yt e

T errit or y. ” M ot. at 1 6; s e e als o i d. at 1 3 ( “I n c yt e p at e nts ar e irr el e v a nt ”). T o q u alif y, I n c yt e cl ai ms

t h at N o v artis s h o ul d h a v e o bt ai n e d U. S. p at e nt ri g hts f or r u x oliti ni b b ut “f ail e d t o d o s o. ” I d. at

1 6. I n c yt e’s i nt er pr et ati o n m a k es n o c o m m er ci al s e ns e, p arti c ul arl y i n c o nt e xt of t h e A gr e e m e nt’s

fr a m e w or k of gl o b al c oll a b or ati o n a n d fi n a n ci al c o m p e ns ati o n a gr e e d u p o n b y e a c h p art y.

             U n d er S e cti o n 7. 2 of t h e A gr e e m e nt ,                        as a pr a cti c al m att er c o ntr ols all p at e nt a cti vit y

r el ati n g t o J a k afi i n t h e              H a vi n g, as it n ot es, “ dis c o v er e d a n d d e v el o p e d ” r u x oliti ni b , s e e M ot.

at 1, I n c yt e is t h e i n v e nt or p art y wit h “t h e ri g ht t o e x cl u d e ot h ers fr o m m a ki n g, usi n g, off eri n g f or

s al e, s elli n g or i m p orti n g t h e i n v e nti o n. ” 8 It is f or t his r e as o n t h at                             r es er v e d ri g hts f or its elf



8
    U. S. P at e nt a n d Tr a d e m ar k Offi c e ( “ U. S. P. T. O ”), G e n er al I nf or m ati o n C o n c er ni n g P at e nts, a v ail a bl e at
htt ps:// w w w. us pt o. g o v/ p at e nts -g etti n g -st art e d/ g e n er al-i nf or m ati o n- co n c er ni n g -p at e nts # h e a di n g -1 (l ast visit e d M a y
1 8 , 2 0 2 0) ( p at e nts ar e t o b e s o u g ht b y t h e i n v e nt or or its assi g n e e f or s o m et hi n g “ n e w ” a n d n ot y et p at e nt e d).


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u n d er S e cti o n 7. 2 wit h r esp e ct t o p at e nt fili n g, pr os e c uti o n, a n d m ai nt e n a n c e of criti c al c o m p o u n d

p at e nts ( I N C Y 0 0 3 9 P at e nt Ri g hts) worl d wi d e as w ell as S e c o n d ar y J A K P at e nt Ri g hts i n t h e

S e e s u pr a at 5 - 7; A gr. at 1 8 ( § 2. 1 ( b)), 4 6- 4 7 ( § 7. 2 ( c)). T h us, it is u n cl e ar w h at t y p e of r u x oliti ni b-

r el at e d i n v e nti o n I n c yt e c o nt e n ds N o v artis c o ul d or s h o ul d h a v e o bt ai n e d f or I n c yt e’s b e n efit i n

t h e U. S. 9 I g n ori n g t h e all o c ati o n of r es p o nsi biliti es a n d cl e ar-c ut e c o n o mi cs , I n c yt e’s pr e mis e is

t hat N o v artis s h o ul d h a v e al o n e i n v e nt e d s o m et hi n g n e w p erti n e nt t o J a ka fi i n t h e U. S., p at e nt e d

it i n t h e U. S., a n d t h e n li c e ns e d t h at p at e nt t o I n c yt e— e v e n t h o u g h N o v artis w o ul d h a v e u n d ert a k e n

all t h e b ur d e n a n d t h e n o nl y r e ali z e , at m ost , t h e 5 % r o y alt y fr o m t h os e U. S. s al es. 1 0

             N or     d o es I n c yt e’s i nt er pr et ati o n cr e dit t h e s u bst a nti al r ol e                           N o v artis pl a y e d i n t h e

d e v el o p m e nt a n d ulti m at e C o m m er ci ali z ati o n of J a k afi i n t h e U. S., r a n gi n g fr o m N o v artis’

e x p ertis e t o its si g nifi c a nt fi n a n ci al c o ntri b uti o n s t o b e n efit U. S. s al es (i n cl u di n g b ut n ot li mit e d

t o a si g nifi c a nt u pfr o nt p a y m e nt of $ 1 5 0 milli o n a n d                                              of c osts o v er ti m e f or J oi nt

D e v el o p m e nt A cti viti es ). S e e s u pr a at 5- 8 ; A gr. at 3 3- 3 4 ( § 4. 3( a)) a n d 5 1- 5 6 ( § § 8. 1- 8. 3( b)).

             E v e n m or e ill o gi c al w h e n p ut i n c o nt e xt, I n c yt e’s i nt er pr et ati o n s k e ws t h e m e a ni n g of

“ Li c e ns e d P at e nts Ri g hts ” i n t h e bil at er al r o y alt y pr o visi o n t o e xt e n d, as a pr a cti c al m att er, t h e

e n d p oi nt f or t h e R o y alt y T er m i n e v er y c o u ntr y w h er e I n c yt e o bt ai ns r o y alti es, b ut n ot i n t h e U. S.

w h er e N o v artis r e c ei v es r o y alt i es. T h at is b e c a us e , u n d er I n c yt e’s i nt er pr et ati o n, a “ V ali d Cl ai m

of Li c e ns e d P at e nts Ri g hts ” f or r u x oliti ni b w o ul d e xist wit hi n a n y e x -U. S. c o u ntr y w h er e N o v artis

s ells t h e dr u g a n d I n c yt e h as o bt ai n e d p at e nts a br o a d as t h e i n n o v at or, w h et h er t h os e w er e p urs u e d




9
   W hil e N o v artis pr e vi o usl y e x pl or e d ( b ut di d n ot c o m pl et e ) pr oj e cts r el ati n g t o c o m p o u n ds s u bj e ct of t h e A gr e e m e nt,
all of t h e m w o ul d h a v e i n v ol v e d a diff e r e nt Li c e ns e d Pr o d u ct a n d t h us a s e pa r at e r o y alt y str e a m.
10
    T h e s p e ci o us n ess of I n c yt e’s ar g u m e nt t h at N o v artis , to a v oi d t h e St e p D o w n, s h o ul d h a v e o bt ai n e d a d diti o n al
p at e nt pr ot e cti o n i n t h e U. S. is f urt h er r e v e al e d w h e n c o m p ar e d t o I n c yt e’s p ositi o n wit h r es p e ct t o “ R e g u l at or y
E x cl usi vit y. ” As t o t h at pr o n g of S e cti o n 8 . 3( c), I n c yt e a c k n o wl e d g es ( as it m ust) t h at “ R e g ul at or y E x cl usi vit y ” e xist e d
i n t h e U. S. e v e n t h o u g h I n c yt e s o u g ht a n d o bt ai n e d s u c h st at us fr o m t h e F D A. Li k e wis e, it d o es n ot m att er w hi c h
p art y o bt ai n e d t h e Li c e ns e d P at e nt Ri g hts f or p ur p os es of S e cti o n 8. 3( c).


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pri or t o t h e A gr e e m e nt ( a n d i d e ntifi e d o n E x hi bit A -2 t h er et o) or t h er e aft er (p urs u a nt t o S e cti o n

7. 2( c) ), a n d li c e ns e d t h e m t o N o v artis. C o n v ers el y, t h er e c o ul d r ar el y, if e v er, b e s u c h a cl ai m i n

t h e m aj or U. S. m ar k et w h er e I n c yt e o w ns all P at e nt Ri g hts. B y e xt e nsi o n, I n c yt e’s r e a di n g r e n d ers

t h e p hr as e “ V ali d Cl ai m of Li c e ns e d P at e nt Ri g hts ” i n S e cti o n 8. 3, as a p pli e d t o J a ka fi i n t h e U. S.,

ess e nti all y m e a ni n gl ess b ot h as t o ( 1) a vi a bl e e n d p oi nt f or t h e a p pli c a bl e R o y alt y T er m f or

I n c yt e’s r oy alti es a n d ( 2) a vi a bl e f a ct or f or pr e cl u di n g t h e St e p D o w n. S e e, e. g. , Citi b a n k, 2 0 2 0

W L 1 5 0 3 2 2 9 at * 7 (fi n di n g “ D ef e n d a nts ’ i nt er pr et ati o n is str a i n e d, at b est,” w o ul d “ s e e m t o l e a d

t o a n a bs ur d r es ult, ” a n d “r e n d ers ill o gi c al a n d s u p erfl u o us ” c o ntr a c t r ef er e n c es). N eit h er as p e ct

t o I n c yt e’s o n e - si d e d , c o m m er ci all y u nr e as o n a bl e vi e w h as a n y m erit , a n d it r u ns c o u nt er t o t h e

p ur p os e of t h e bil at er al r o y alt y pr o visi o n — i. e., t o e ns u r e t h at b ot h p arti es r e c ei v e a p pr o pri at e,

l o n g- t er m r et ur n o n t h eir r es p e cti v e c o ntri b uti o ns i n bri n gi n g r u x oliti ni b t o m ar k et gl o b all y.

II.        N O V A R TI S S U F FI CI E N T L Y P L E A D S T H A T J A K A FI I S S TI L L “ S U B J E C T T O
           R E G U L A T O R Y E X C L U SI VI T Y ” T O P R E C L U D E T H E S T E P D O W N

           A.         R e m ai ni n g E x cl usi viti es E xist f o r T w o Si g nifi c a nt M e di c al C o n diti o ns

           E v e n asi d e fr o m t h e c o nti n ui n g pr ot e cti o n fr o m ei g ht p at e nts c o v eri n g J a k afi i n t h e U. S. —

w hi c h st a n di n g al o n e pr e v e nt I n c yt e’s i n v o c ati o n of t h e St e p D o w n — J a k afi is als o “s u bj e ct t o

R e g ul at or y E x cl usi vit y ” i n t h e U. S.     I n c yt e c urr e ntl y h ol ds F D A -iss u e d or p h a n dr u g e x cl usi vit y

d esi g n ati o ns f or t w o m e d i c al c o n diti o ns f or J a k afi ( P V a n d G V H D) a n d N CI e x cl usi vit y f or

G V H D . S e e C o m pl. ¶ ¶ 2 4, 2 8, 3 0; M ot . at 1 7. I n f a ct, I n c yt e will h ol d o n e F D A -iss u e d or p h a n

dr u g e x cl usi vit y d esi g n ati o n r el ati n g t o J a k afi t hr o u g h 2 0 2 6. I d. Gi v e n t h es e u n d e ni a bl e f a cts,

I n c yt e h as n o b asis t o i n v o k e t h e St e p D o w n e v e n wit h t h e e x pir ati o n of t h e M F d esi g n ati o n.

           B.         R o y alti es P e rt ai n t o Li c e ns e d P r o d u ct s, N ot I n di c ati o ns o r M e di c al C o n diti o ns

           B y its t er ms, t h e bil at er al r o y alt y pr o visi o n a n d St e p D o w n ti e r o y alti es t o t h e e ntir e dr u g

a n d n ot t o t h e i n di vi d u al i n di c ati o ns or c o n diti o ns f or w hi ch it w as pr es cri b e d. T his is s o e v e n



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t h o u g h t h e p arti es e x pr essl y r e c o g ni z e d t h e pr os p e ct of r e c ei vi n g m ulti pl e a p pr o v e d i n di c ati o ns i n

t h e A gr e e m e nt a n d ti e d ot h er p a y m e nts ( b ut n ot r o yalti es) t o i n di c ati o ns. N or di d t h e p arti es a gr e e

a n y w h er e i n t h e A gr e e m e nt t h at t h e l oss of o n e r e g ul at or y e x cl usi vit y f or o n e m e di c al c o n diti o n

w o ul d a m o u nt t o t h e l oss of all R e g ul at or y E x cl usi vit y f or t h e e ntir e dr u g p r o d u ct. N o b asis e xists

f or I n c yt e t o r e a d s u c h a n u nst at e d pr o visi o n i nt o t h e A gr e e m e nt, w hi c h w as n ot b ar g ai n e d f or.

             As t h e A gr e e m e nt              m a k es cl e ar , t h e p arti es e x pr essl y c o nt e m pl at e d t h e pr os p e ct of

o bt ai ni n g a p pr o v al f or              m ulti pl e i n di c ati o ns f or a n y Li c e ns e d Pr o d u ct ( a n d c orr es p o n di n g
                                                                                                                         11
r e g ul at or y e x cl usi viti es) , i n cl u di n g r u x oliti ni b. S e e C o m pl. ¶ 2 1.                                I n p arti c ul ar, Arti cl e VIII

r e quir es N o v artis t o pr o vi d e p a y m e nts t o I n c yt e b as e d o n m ulti pl e c at e g ori es of “ mil est o n e e v e nts ”

wit h t h e ti mi n g a n d si z e of t h e p a y m e nts gi v e n b as e d o n t h e n u m b er of i n di c ati o ns.                                    S e e A gr. at

5 1- 5 6 ( § 8. 2). P ut diff er e ntl y, I n c yt e c o nt e m pl at e d ( a n d h as r e a p e d) mil est o n e p a y m e nts pr e mis e d

o n t h e s h ar e d g o al of e xt e nsi v el y c o m m er ci ali zi n g t h e c o m p o u n ds c o v er e d b y t h e A gr e e m e nt a n d

s e e ki n g m ulti pl e a p pr o v e d i n di c ati o ns f or r u x oliti ni b. T h e bil at er al r o y alt y pr o visi o n i n Arti cl e

VIII, h o w e v er, d o es n ot f oll o w t h e s a m e or e v e n a si mil ar str u ct ur e. S e e A gr. at 5 6- 5 7 ( § 8. 3).

               H a d t h e l oss of o n e r e g ul at or y e x cl usi vit y— s u c h as a n or p h a n dr u g d esi g n ati o n, w hi c h is

s p e cifi c all y e n u m er at e d i n t h e d efi niti o n of R e g ul at or y E x cl usi vit y — a m o u nt e d                              t o t h e l oss of all

R e g ul at or y E x cl usi vit y , t his w o ul d h a v e b e e n st at e d i n S e cti o n 8. 3, b ut it w as n ot. S e e A gr. at 1 5

( § 1. 1 0 1) a n d 5 7 ( § 8. 3( c)). As r efl e ct e d b y t h e i m m e di at el y -pr e c e di n g S e cti o n 8. 2, t h e p arti es

k n e w h o w t o dr a w disti n cti o ns b as e d o n i n di c ati o ns f or a dr u g b ut di d n ot d o s o i n S e cti o n 8. 3 .

I g n ori n g t h e f a ct t h at S e cti o n 8. 2 us es diff er e nt w or di n g t o s et f ort h a n i n di c ati o n-ori e nt e d

str u ct ur e, I n c yt e ar g u es t h at, wit h o ut t e xt u al s u p p ort, t h e l oss of R e g ul arl y E x cl usi vit y u n d er

S e cti o n 8. 3 f or o nl y o n e m e di c al c o n diti o n m e a ns a l oss of R e g ul at or y E x cl usi vit y f or t h e e ntir e


11
   T his is refl e ct e d b y I n c yt e’s tr a c k r e c or d vis- à-vis t h e F D A , a s e a c h a p pli c ati o n f or a n a d diti o n al i n di c ati o n/ a p pr o v e d
us e h as b e e n c o u pl e d wit h a r e q u est f or r e g ul at or y e x cl usi viti es . S e e C o m pl. ¶ ¶ 2 3 -2 4; M ot . at 9, 1 7.


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Li c e ns e d Pr o d u ct e v e n t h o u g h ot h er v ali d a n d a p pli c a bl e f or ms of R e g ul at or y E x cl usi vit y e xist f or

ot h er m e di c al c o n diti o ns. I n c yt e als o g o es s o f ar as t o s u g g est t h at t h e o n g oi n g e xist e n c e of

m ulti pl e “ e x cl usi vit i es” s o m e h o w f alls o utsi d e t h e s c o p e of “ R e g ul at or y E x cl usi vit y, ” irr es p e cti v e

of t h e n u m b er of m e di c al c o n diti o ns wit h a p pr o v e d F D A i n di c ati o ns t h at r e m ai n s u bj e ct t o

e x cl usi vit y. S e e M ot. at 1 7 -1 8. T h at i nt er pr et ati o n, h o w e v er, is b eli e d b y t h e disti n ct l a n g u a g e

us e d i n v ari o us s e cti o ns of t h e A gr e e m e nt, as w ell as c o m m er ci al l o gi c . S e e J o n es v. M er c e d es -

B e nz, M a n h att a n, I n c. , No. 1: 1 9 -c v -0 0 4 7 2, 2 0 2 0 W L 1 4 4 5 7 2 8, at * 6 ( S. D. N. Y. M ar. 2 5, 2 0 2 0)

( d e n yi n g m oti o n t o dis miss c o ntr a ct cl ai m b e c a us e d e f e n d a nts’ i nt er pr et ati o n disr e g ar ds t h e i m p ort

of h a vi n g t w o disti n ct a n d “ s e p ar at e s e cti o ns f or s al ar y a n d c o m missi o ns ” a n d t h e “s p e cifi c w a y

i n w hi c h c o m missi o ns, as o p p os e d t o s al ar y w er e e ar n e d ”).

           C.         E xisti n g E x cl usi viti es P r e cl u d e C o m m e r ci ali z ati o n A cti viti es f o r J a k afi

           A s d efi n e d i n t h e A gr e e m e nt, t h e t er m “ R e g ul at or y E x cl usi vit y ” m e a ns t h e a bilit y t o

e x cl u d e ot h er c o m p a ni es fr o m “ C o m m er ci ali zi n g ” a Li c e ns e d Pr o d u ct i n a m a n n er diff er e nt fr o m

P at e nt Ri g hts.     A g r. at 1 5 ( § 1. 1 0 1) a n d 5 ( § 1. 1 9).          N ot usi n g t h e w or ds “ all ” or “ e v er y , ” t h e

d efi niti o n of “ C o m m er ci ali z ati o n ” is i nst e a d “ a n y a cti viti es dir e ct e d t o o bt ai ni n g pri ci n g a n d/ or

r ei m b urs e m e nt a p pr o v als, m ar k eti n g, pr o m oti n g, distri b uti n g, i m p orti n g, off eri n g t o s ell, a n d/ or

s elli n g a pr o d u ct (i n cl u di n g est a blis hi n g t h e pri c e f or s u c h pr o d u ct) ,” i d. at 5 ( § 1. 1 9) ( e m p h asis

a d d e d), s u c h t h at o n e, or s o m e, a cti vit y is e n o u g h. It f oll o ws th at “ R e g ul at or y E x cl usi vit y ” m e a n s

a n a bilit y , gr a nt e d b y a r e g ul at or y a ut h orit y (e. g. , F D A i n t h e U. S.), t o pr e v e nt n o n- c oll a b or at ors

fr o m p art a ki n g i n at l e ast o n e, or s o m e, a cti viti es — irr es p e cti v e of t h e t ot al n u m b er or t y p e— g e ar e d

t o w ar ds s elli n g a Li ce ns e d Pr o d u ct a n d c o m p eti n g i n t h e r el e v a nt m ar k et. I n c yt e’s r e m ai ni n g

d esi g n ati o ns f or t w o c o n diti o ns, w hi c h ar e s u bst a nti al s al es dri v ers , cl e arl y m e et t h at st a n d ar d.

           T h e us e of t h e w or d “ a n y ” i n S e cti o n 1. 1 9 of t h e A gr e e m e nt t h us h as si g nifi c a n c e . I n f a ct,

t h e w or d “ a n y ” is e m pl o y e d r e p e at e dl y t hr o u g h o ut t h e A gr e e m e nt t o c o n n ot e t h e e q ui v al e nt of “ at


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l e ast o n e ” wit hi n a p ot e nti al cl ass or gr o u p w h er e t h er e is a n u n k n o w n p ot e nti al q u a ntit y of s u c h

t hi n gs wit hi n t h e cl ass or gr o u p. 1 2 T his is i n s h ar p c o n tr ast t o t h e p arti es’ us e of t h e w or d “ all ” i n

t he A gr e e m e nt t o c o n n ot e all -e n c o m p assi n g i n cl usi o n. 1 3 T h e us e of t h e m o difi er a dj e cti v es “ a n y ”

a n d “ all ” s e p ar at el y s h o ws t h at t h e p arti es k n e w h o w t o dr a w cl e ar disti n cti o ns, d e p e n di n g o n

c o nt e xt, wit h “ a n y ” b ei n g us e d t o m o dif y n o u ns t o r efl e ct t h at t h er e m a y b e o n e or m or e t hi n gs

t h at m a y q u alif y t o f all wit hi n t h e s c o p e of t h e t er m (e. g. , i n d efi ni n g “I n di c ati o n ”) a n d “ all ” b ei n g

us e d t o m o dif y n o u ns t o r efl e ct t h at t h e w h ol e n u m b er or s u m of t h os e t hi n gs w as t o b e i n cl u d e d

i n t h e t er m (e. g. , i n d efi ni n g “ P at e nt Ri g hts ”). T his i nt er pr et ati o n gi v es “r e as o n a bl e m e a ni n g ” t o

all of t h e A gr e e m e nt’s l a n g u a g e a n d pr o vi d es a “ c o nsist e nt ” r e a di n g of its a dj e cti v es t hr o u g h o ut,

w hil e at t h e s a m e ti m e d o es n ot r e n d er t h e cl e ar disti n cti o n b et w e e n “ a n y ” a n d “ all ” m e a ni n gl ess. 1 4

            W e r e t h er e t o b e a n y d o u bt as t o t h e m e a ni n g of t h e w or d “ a n y ” i n S e cti o n 1. 1 9, N e w Y or k

pr e c e d e nt r ef ers t o di cti o n ari es t o ai d i n d et e r mi ni n g pl ai n a n d or di n ar y m e a ni n g. 1 5 Alt h o u g h

I nc yt e r es o rts t o di cti o n ar y d efi niti o ns , s e e M ot. at 2 0, it d o es n ot f airl y c a pt ur e w h at t h e y s a y.


12
    F or e x a m pl e, “I n d i cati o n ” is “ a n y dis e as e, c o n diti o n or s y n dr o m e, or si g n or s y m pt o m of, or ass o ci at e d wit h, a
dis e as e or c o n diti o n. ” I d. at 8 ( § 1. 5 0). Si mil arl y, “ G e n eri c Pr o d u ct ” is “ a n y p h ar m a c e uti c al pr o d u ct t h at c o nt ai ns a
Li c e ns e d C o m p o u n d a n d t h at is s ol d u n d er a m ar k eti n g a ut h ori z ati o n gr a nt e d b y a R e g ul at or y A ut h orit y t o a P ers o n
ot h er t h a n a P art y or its Affili at es, li c e ns es, or s u bli c e ns e es. ” I d. at 8 ( § 1. 4 1). S e e als o i d. at 9 ( § 1. 5 1), 1 0 ( § 1. 6 4),
a n d 1 4 ( § 1. 9 6) ( d efi ni n g “I nfl a m m at or y Dis e a s e, ” “ K n o w -H o w , ” a n d “ P u bli c ati o n, ” r es p e cti v el y).
13
    B y w a y of e x a m pl e, “ P at e nt Ri g hts ” is d efi n e d as “ all p at e nts a n d p at e nt a p pli c ati o ns i n a n y c o u ntr y i n t h e w orl d .
. . ” a n d “I n c yt e P at e nt Ri g hts ” is d efi n e d as “all P at e nt Ri g hts t h at ( a) ar e C o ntr oll e d b y I n c yt e or a n y of its Affili at es
as of t h e Eff e cti v e D at e or d uri n g t h e T er m; a n d ( b) ar e n e c ess ar y or us ef ul t o D e v el o p, m a n uf a ct ur e or C o m m er ci ali z e
. . . ” A gr. at 1 3 ( § 1. 8 6) a n d 8 ( § 1. 4 7).
14
    S e e, e. g. , S er d ar e vi c v. C e nt e x H o m es, L L C , 7 6 0 F. S u p p. 2 d 3 2 2, 3 3 3 ( S. D. N. Y. 2 0 1 0), 7 6 0 F. S u p p. 2 d at 3 3 3
( d e n yi n g m oti o n t o dis miss c o ntr a ct cl ai m as d ef e n d a nt’s i nt er pr et ati o n w o ul d m a k e a p hr as e “ m e a ni n gl e ss ” a n d
pl ai ntiff’s w o ul d n ot, n oti n g “t h e C o urt n e e d n ot d e ci d e t his iss u e as a m att er of l a w ” n o w); Air C hi n a L t d. v. Li, N o.
0 7 -c v -1 1 1 2 8, 2 0 0 8 W L 7 5 4 4 5 0, at * 2 ( S. D. N. Y. M ar. 1 7, 2 0 0 8) (r ej e cti n g i nt er pr et ati o n “r e n d er[i n g] [ a n ot h er
pr o visi o n’s i nstr u cti o n] . . . m e a ni n gl e ss a n d, m or e g e n er all y, is n o ns e nsi c al ”); K o hl ’s D e p’t St or es, I n c. v. R o n gr a nt
A ss o cs. L L C, N o. 0 4-c v -4 9 0 7, 2 0 0 5 W L 1 2 6 3 6 1 3 , at *3 ( E . D. N. Y. M a y 2 7, 2 0 0 5) ( d e n yi n g m oti o n t o dis miss w h er e
p l ai ntiff’s i nt er pr etati o n is “ c o nsist e nt wit h t h e t e xt of t h e L e as e a n d gi v es m e a ni n g t o e a c h s u bs e cti o n of S e cti o n 9 ”).
15
    S e e, e. g. , R u bi n v. Cit y N at’l B a n k & Tr ust C o. of Gl o v ers vill e , 1 3 1 A. D. 2 d 1 5 0, 1 5 2 (3 d D e p’t 1 9 8 7) ( citi n g
W e bst er’s T hir d N e w I nt er n ati o n al Di cti o n ar y t o i nt er pr et t h e “ or di n ar y us a g e a n d di cti o n ar y d efi niti o n ” of t h e w or d
“ a n y, ” w hi c h w a s d efi n e d as “ o n e i n diff er e ntl y o ut of m or e t h a n t w o; o n e or s o m e i n dis cri mi n at el y of w h at e v er ki n d ”)
(i nt er n al q u ot ati o n m ar ks o mitt e d); s e e als o C B S C or p. v. E at o n C or p. , N o. 0 7-c v -1 1 3 4 4, 2 0 0 9 W L 4 7 5 6 4 3 6, at * 4
( S. D.N. Y. D e c. 7, 2 0 0 9) ( “[ a] s o u n d m et h o d f or d et er mi ni n g t h e pl ai n m e a ni n g of w o r ds is t o l o o k at t h eir di cti o n ar y
d efi niti o ns, ” r ef erri n g t o t h e “[ c] o nt e m p or ar y di cti o n ari e s ” W e bst er’s, A m eri c a n H erit a g e, a n d O xf or d E n g lis h;
d ef e n d a nt’s c o nstr u cti o n “ w o ul d u nr e as o n a bl y str et c h t h e pl ai n m e a ni n g of t h e t er m ”) ( cit ati o ns o mitt e d) .


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R e c o g ni zi n g t h at t h e m e a ni n g of “ a n y ” m a y d e p e n d o n c o nt e xt t o b e cl arifi e d b y f a ct u al

d e v el o p m e nt, s e e Ni x o n v. Miss o uri M u n. L e a g u e , 5 4 1 U. S. 1 2 5, 1 3 2 ( 2 0 0 4), a n u mb er of oft -cit e d

di cti o n ari es pr o vi d e h el pf ul g ui d a n c e : 1 6

•     C a m b ri d g e Di cti o n a r y d efi n es “ a n y ” as “s o m e, or e v e n t h e s m all est a m o u nt or n u m b er of. ”

•     O xf o r d E n glis h Di cti o n a r y d efi n es “ a n y ”, i n cl u di n g w h e n us e d as a n a dj e cti v e wit h a “ pl ur al
      or m ass n o u n ” —i. e ., “ a n y ” b ef or e “ a cti viti es ” i n t h e d efi n e d t er m “ C o m m er ci ali z e ” — as “ of
      w h at e v er s ort or ki n d ” (i n t h e c o nt e xt of q u alit ati v e f or c e i n p ositi v e or n e utr al s e ns e) a n d “ us e d
      t o r ef er t o a n u m b er, h o w e v er gr e at or s m all, of (s e p ar a bl e t hi n gs), or a q u a ntit y or a m o u nt of
      ( a s u bst a n c e, et c.), e v e n t h e s m all est” (i n t h e c o nt e xt of q u a ntit ati v e f or c e).

•     O xf o r d si mil arl y d efi n es “ a n y, ” w h e n b ei n g us e d as a n a dj e cti v e wit h a “ pl ur al or m ass n o u n ”
      a n d “[i] n i nt err o g ati v e, h y p ot h eti c al, a n d c o n diti o n al c o nt e xts, ” as “ us e d t o r ef er t o a n
      u ns p e cifi e d n u m b er or q u a ntit y of a t hi n g or t hi n gs, n o m att er h o w m u c h or h o w m a n y; s o m e. ”

•     In r el e v a nt p art, t h e A m e ri c a n H e rit a g e Di cti o n a r y d efi n es “ a n y ” as “ o n e or s o m e; n o m att er
      w hi c h ,” “ n o m att er h o w m u c h or h o w littl e, ” a n d “ n o m att er h o w m u c h or h o w f e w; s o m e, ”
      a n d t h e M e r ri a m -W e bst e r Di cti o n a r y d efi n es “ a n y ” as “ o n e or m or e — us e d t o i n di c at e a n
      u n d et er mi n e d n u m b er or a m o u nt. ” 1 7

As th es e d efi niti o ns m a k e cl e ar , t h e pl ai n m e a ni n g of “ a n y ” pri or t o a pl ur al n o u n m e a ns “ at l e ast

o n e ” or “s o m e. ” It r e as o n a bl y f oll o ws t h at t h e p arti es us e d “ a n y ” b ef or e “ a cti viti es ” i n t h e t er m

“ C o m m er ci ali z e ” t o i n di c at e t h at o n e s al es or m ar k eti n g a cti vit y, or a n y p ossi bl e n u m b er of s u c h

a cti viti es (i. e., s o m e), w o ul d b e e n o u g h t o q u alif y as C o m m e r ci ali zi n g. E v e n I n c yt e c o n c e d es it

c a n pr e cl u d e “s o m e a cti viti es t h at f all wit hi n t h e d efi niti o n of C o m m er ci ali z ati o n. ”                               M ot. at 1 9. 1 8


16
    T h e di cti o n ari es cit e d h er ei n ar e as f oll o ws: A m eri c a n H erit a g e Di cti o n ar y, htt ps:// a h di cti o n ar y. c o m/ w or d/s e ar c h.
ht ml ? q = a n y ; C a m bri d g e Di cti o n ar y, htt ps:// di cti o n ar y. c a m bri d g e. or g/ us/ di cti o n ar y/ e n glis h/ a n y; M erri a m -W e bst er
Di cti o n ar y,         htt p s:// w w w m erri a m - we bst er. c o m/ di cti o n ar y/ a n y ;            and         O xf or d       E n glis h        Di cti o n ar y ,
htt ps:// w w w. o e d. c o m/ vi e w/ E ntr y/ 8 9 7 3 ?r e dir e ct e d Fr o m = a n y # ei d ( all l ast visit e d M a y 1 8, 2 0 2 0; all e m p h a s es a d d e d).
17
    W hil e I n c yt e als o cit es t o t his di cti o n ar y i n t h e M oti o n, I n c yt e c uri o usl y o mits t h e e x e m pl ar p hr as es t h e di cti o n ar y
us e s t o e q u at e “ a n y ” wit h “ e v er y ” a n d “ all, ” w hi c h ar e i n e ntir el y dissi mil ar c o nt e xts. F or e x a m pl e, M erri a m -W e bst er
n ot es t h at “ a n y ” c o ul d b e e q u at e d wit h “ e v er y ” i n t h e f oll o wi n g s e nt e n c e: “ a n y c hil d w o ul d k n o w t h at. ”
18
     I n c o ntr ast, t h e w or d “ all ” is c o nsist e ntl y d efi n e d b y t h es e s a m e di cti o n ari e s as t h e “ w h ol e, ” “t ot al, ” or “ c o m pl et e ”
a m o u nt or n u m b er of t h e c orr es p o n di n g n o u n. S e e A m eri c a n H erit a g e Di cti o n ar y, htt ps:// a h di cti o n ar y. c o m/
w or d/s e ar c h ht ml ? q = all ; C a m bri d g e Di cti o n ar y, htt ps:// di cti o n ar y. c a m bri d g e. or g/ us/ di cti o n ar y/ e n glis h/ all ; M erri a m-
W e bst er         Di cti o n ar y,       htt ps:// w w w. m erri a m -w e bst er. c o m/ di cti o n ar y/ all ;           O xf or d      E n glis h       Di cti o n ar y ,
htt ps:// w w w. o e d. c o m/ vi e w/ E ntr y/ 5 1 5 1 ?r e dir e ct e d Fr o m = all # ei d ( all l ast visit e d M a y 1 8, 2 0 2 0); se e als o, e. g. ,
Citi b a n k, N. A. v. J a c o bs e n, N o. 1 9 -c v -9 5 9, 2 0 2 0 W L 7 7 2 4 9 7, at * 8 ( S. D. N. Y. F e b. 1 8, 2 0 2 0) ( “ T h e pl ai n m e a ni n g of
t h e t er m ‘ all,’ w h e n m o dif yi n g a pl ur al n o u n li k e ‘ o bli g ati o ns,’ is ‘t h e w h ol e n u m b er or s u m of’ t h e no u n. ”). “ E v er y ”
is si mil arl y a n d c o nsist e ntl y d efi n e d as a m o u nti n g t o “ e a c h ” i n a f ull gr o u p or “ all. ”


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           T h us, it is m or e t h a n pl a usi bl e t o u n d erst a n d t h at h a vi n g “ R e g ul at or y E x cl usi vit y ” m e a n s

t h e a bilit y t o pr e v e nt at l e ast o n e, or s o m e, m ar k eti n g a n d s al es a cti viti es b y c o m p etit ors wit h

r es p e ct t o J a k afi. H er e, I n c yt e’s a bilit y t o b ar c o m p etiti o n wit h r es p e ct t o t h e tr e at m e nt of b ot h

P V a n d G V H D ( w hi c h ar e m aj or s al es dri v ers) u n d er F D A -iss u e d e x cl usi viti es cl e arl y ( a n d

c ert ai nl y pl a usi bl y) m e a ns t h at t h e Li c e ns e d Pr o d u ct is “s u bj e ct t o R e g ul at or y E x cl u si vit y. ”

           D.         I n c yt e’s I nt e r p r et ati o n I m p e r missi bl y R eli es o n S p e c ul ati o n

           B as e d o n e xtri nsi c ( a n d dis p ut e d) f a ct ors w ell o utsi d e t h e s c o p e of t h e C o m pl ai nt , I n c yt e

c o nt e n ds t h at it c a n n ot “r el y o n ” t h e or p h a n dr u g d esi g n ati o ns it h ol d s a n d J a k afi t h us s h o ul d n ot

b e d e e m e d “s u bj e ct t o R e g ul at or y E x cl usi vit y ” f or p ur p os es of t h e St e p D o w n. S e e M oti o n at 1 9.

I n s o d oi n g, I n c yt e i g n or es t h at it o bt ai n e d e x cl usi viti es f or tr e ati n g P V a n d G V H D f or a r e as o n,

a n d e v e n di d s o w ell aft er t h e n o w- e x pir e d d esi g n ati o n f or M F h a d b e e n a p pr o v e d. In c yt e als o

i g n or es w h at h ol di n g t h es e d esi g n ati o ns m e a ns as a m att er of c o nti n ui n g s al es s u c c ess a n d i n

r el ati o n t o c o m p etiti o n (f or w hi c h t h er e is still n o n e) i n t h e r el e v a nt m ar k et .

           W hil e it is d e b at a bl e w h et h er t h e C o urt c a n t a k e j u di ci al n oti c e of t h e I Q VI A I nstit ut e

r e p ort cit e d b y I n c yt e, s e e M oti o n at 1 9, e v e n t h at r e p ort cl e arl y arti c ul at es t h at dr u gs a w ar d e d

“ m ulti pl e or p h a n d esi g n ati o ns t h at e n d at diff er e nt ti m es ” will “ e x p eri e n c e s o m e l e v el of m ar k et

e x cl usi vit y f or a p eri o d w ell i n e x c ess of s e v e n y e ars. ” I Q VI A I nstit ut e f or H u m a n D at a S ci e n c e,

Or p h a n Dr u gs i n t h e U nit e d St at es ( D e c. 2 0 1 8) ( as cit e d i n M oti o n) at 9.                T h at is , a n y g e n eric

c o m p etiti o n ( w hi c h d o es n ot y et e xist) c o ul d o nl y o c c ur wit h r es p e ct t o tr e ati n g M F a n d I n c yt e

w o ul d still r et ai n m e a ni n gf ul l e g al pr ot e cti o ns wit h r es p e ct t o t h e tr e at m e nt of P V a n d G V H D. At

pr es e nt, I n c yt e r et ai ns t h e e ntir e r u x oliti ni b m ar k et i n t h e U. S., a n d e v e n if a g e n eri c m a n uf a ct ur er

w as t o c o m p et e ( a n d t h er e is n o i n di c ati o n t h at t h er e is e v e n o n e o n t h e h ori z o n), I n c yt e will r et ai n

t h e a bilit y t o e x cl u d e it fr o m p art a ki n g i n s al es a n d m ar k eti n g of r u x oliti ni b f or t h e tr e at m e nt of

b ot h P V a n d G V H D ( i. e., C o m m er ci ali zi n g J a k afi). S e e C o m pl. ¶ ¶ 1 9 - 2 0; M ot. at 1 9.


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             I n c yt e r es orts t o d es cri bi n g h y p ot h eti c al “s ki n n y ” or “ c ar v e - o ut ” l a b eli n g t h at a n o w n o n-

e xist e nt c o m p etit or m a y or m a y n ot p urs u e , as w ell as h y p ot h eti c al s c e n ari os w h er e b y a p h ysi ci a n

m a y pr es cri b e g e n eri c r u x oliti ni b off -l a b el. S e e M ot.                         at 2 1 -2 3.         B ut p ur e s p e c ul ati o n a b o ut

s c e n ari os o utsi d e t h e p l e a di n g as t o w h at c o m p etit ors or d o ct ors pr os p e cti v el y m a y d o, l et al o n e

w h at i m p a ct it p ossi bl y c o ul d h a v e o n s al es, pr o vi d es n o vi a bl e gr o u n d t o c h all e n g e t h e s uffi ci e n c y

of N o v artis’ pl e a di n g of a pl a usi bl e c o ntr a ct i nt er pr et ati o n . I n d e e d, I n c yt e c o n c e d es o n g oi n g

“ p at e nt pr ot e cti o ns, ” M ot . at 2 2 n. 1 1, w hi c h all o ws it t o b ot h d el a y a n d c h all e n g e a n y g e n eri c

c o m p etit or ’s r e q u est f or F D A ap pr o v al. 1 9                    I n c yt e’s su g g esti o n t h at t h e e x pir ati o n of t h e M F

d esi g n ati o n h as “s eri o us p ot e nti al c o ns e q u e n c es , ” i d., t h us l e a ps t o t h e f ar-f et c h e d s c e n ari o i n

w hi c h a p ot e nti al g e n eri c c o m p etit or s u c c essf ull y c h all e n g e s t h e v ali dit y of I n c yt e’s p at e nts a n d

r e c ei v es F D A a p pr o v al t o c o m p et e.                S p e c ul ati o n a b o ut i m pr o b a bl e s c e n ari os is disf a v or e d f or

c o ntr a ct i nt er pr et ati o n, a n d c ert ai nl y d o es n ot s atisf y I n c yt e’s b ur d e n o n its M oti o n.

             I n a d diti o n, t h e c as es t h at I n c yt e cit es f or “s ki n n y ” or “ c ar v e - o ut ” l a b eli n g, s e e M ot. at 2 1 ,

h a v e n o b e ari n g h er e ( e x c e pt t o hi g hli g ht t h e i m p er missi bilit y of I n c yt e’s ar g u m e nts), as n o n e of

t h e m c o n c er n a m oti o n t o dis miss, l et al o n e b asi n g s u c h a m oti o n o n e xtri nsi c m att ers. F urt h er,

all of t h e m i n v ol v e, u nli k e h er e, a ct u al g e n eri c pr es e n c e i n t h e r el e v a nt m ar k et, w hi c h is n ot t h e

c as e wit h J a k afi. T h e c as e I n c yt e cit es f or t h e p ot e nti al f or “ off -l a b el pr es cri bi n g” is si mil arl y

i n a p pli c a bl e o n t h e M oti o n as it c o n c er ns a c h all e n g e t o F D A r e g ul ati o ns ( a n d is n ot a c o m m er ci al

di s p ut e). S e e M ot. at 2 3.             B y r el yi n g o n w h at h y p ot h eti c al a ct ors m a y s e e k t o d o wit h r es p e ct t o

l a b eli n g or pr es cri bi n g, I n c yt e i n f a ct “ all b ut c o n c e d es” t h e i nfir mit y of its M oti o n b y r ef er e n ci n g

“ e xtr a -c o ntr a ct u al ” m att ers . C ol u m bi a C as. C o. , 2 0 1 5 W L 3 9 9 9 1 9 2 , at *8.



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   F D A, P at e nt C ertifi c ati o ns a n d S uit a bilit y P etiti o ns, a v ail a bl e at htt ps:// w w w f d a. g o v/ dr u gs/ a b br e vi at e d -n e w -dr u g -
a p pli c ati o n -a n d a/ p at e nt -c ertifi c ati o ns -a n d -s uit a bilit y-p etiti o ns (l a st visit e d M a y 1 8, 2 0 2 0) ( dis c ussi n g p ar a gr a p h I V
p at e nt c ertifi c ati o n f or g e n eri c m a n uf a ct ur er s e e ki n g F D A a p pr o v al a n d 3 0 -m o nt h st a y d uri n g a n y p at e nt c h all e n g e).


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III.       C O M M E R CI A L L O GI C C O N FI R M S N O V A R TI S’ I N T E R P R E T A TI O N I S N O T
           O N L Y P L A U SI B L E B U T C O M P E L LI N G

           B e y o n d t h e A gr e e m e nt its elf, w h at I n c yt e c alls “ c o m m er ci al a bs ur dit y, ” M ot. at 5, a ct u all y

o nl y s er v es t o c o nfir m N o v artis’ i nt er pr et ati o n ( a n d c ert ai nl y its pl a usi bilit y). As s et f ort h i n

S e cti o n 8. 3( c) , t h e p arti es a gr e e d t o s h ar e i n t h e e c o n o mi c s u c c ess of a n y dr u g t h e y j oi ntl y

d e v el o p e d a n d C o m m er ci ali z e d , irr es p e cti v e of t h e c o u ntr y of s al e . T o t h at e n d, f ull r o y alti es ar e

d u e w hil e t h e Li c e ns e d Pr o d u ct e nj o ys a str o n g m ar k et p ositi o n, a n d u nl ess a n d u ntil t h er e is a

d et eri or ati o n i n t h e v al u e of t h e Li c e ns e d Pr o d u ct, w hi c h, i n t ur n, j ustifi es i n v o c ati o n of t h e St e p

D o w n. W hil e t h e s e c o n d s c e n ari o i n t h e St e p D o w n (ti e d t o G e n eri c C o m p etiti o n) is tri g g er e d b y

a ct u al, m e a ni n gf ul c o m p etiti o n wit h t h e Li c e ns e d Pr o d u ct, t h e first s c e n ari o (ti e d t o a n a bs e n c e of

p at e nt or e x cl usi vit y) si mil arl y r efl e cts a d et eri or ati o n i n v al u e, as n o c o m p etit or is attr a ct e d t o

c o m p eti n g i n t h e m ar k et e v e n t h o u g h b arri ers d o n ot pr e v e nt e ntr y.

           T est e d a g ai nst t h e str u ct ur e of S e cti o n 8. 3( c), t h e e xtr a or di n ar y ill o gi c of I n c yt e’s p ositi o n

is t h at it w o ul d i m p os e t h e St e p D o w n e v e n t h o u g h t h e Li c e ns e d Pr o d u ct, J a k afi, h as n ot s uff er e d

a n y m ar k et d et eri or ati o n w h ats o e v er. C riti c all y, n ot hi n g n e g ati v e h as tr a ns pir e d wit h r es p e ct t o

t h e Li c e ns e d Pr o d u ct’s s al es i n t h e U. S. b et w e e n t h e q u art er t h at I n c yt e w as p a yi n g f ull r o y alti es

( Q 4 2 0 1 8) a n d t h e q u art er w h e n it s o u g ht t o i n v o k e t h e St e p D o w n ( Q 1 2 0 1 9). N or h as a n yt hi n g

n e g a ti v e tr a ns pir e d si n c e t h e first q u art er of l ast y e ar. T o t h e c o ntr ar y, s al es of t h e Li c e ns e d

Pr o d u ct h a v e st e a dil y a n d s u bst a nti all y i n c r e as e d, a n d ar e e x p e ct e d t o c o nti n u e t o d o s o. It d efi es

r e as o n a n d t h e e x pr ess str u ct ur e of t h e St e p D o w n t o i m p os e a 5 0 % r o y alt y r e d u cti o n cl e arl y g e ar e d

t o m ar k et d et eri or ati o n w h e n t h e m ar k et p ositi o n of t h e Li c e ns e d Pr o d u ct h er e is as s o u n d as e v er

a n d o nl y gr o wi n g. It als o w o ul d l e a d t o a n u nj ustifi a bl e wi n df all f or I n c yt e, as it w o ul d b e n efit

fr o m r o b ust, i n d e e d i n cr e asi n g, s al es, w hil e its c o u nt er-p art y i n t h e c oll a b or ati o n w o ul d s e e its

s h ar e of t h e b e n efits c ut i n h alf f or n o e x pli c a bl e b usi n ess or e c o n o mi c r e as o n. S e e, e. g. , C ol e v.



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M a c kl o w e , 9 9 A. D. 3 d 5 9 5, 5 9 6 ( 1st D e p’t 2 0 1 2) (fi n di n g d ef e n d a nts’ vi e w “r e pr es e nts a wi n df all

t o t h e d ef e n d a nts t h at is a bs ur d, n ot c o m m er ci all y r e as o n a bl e a n d c o ntr ar y t o t h e ex pr ess t er ms of

t h e a gr e e m e nt”); H o m e w ar d R esi d e nti al, I n c. v. S a n d C a n y o n C or p. , N o. 1 3-c v -2 1 0 7, 2 0 1 4 W L

2 5 1 0 8 0 9 , at *9- 1 0 ( S. D. N. Y. M a y 2 8, 2 0 1 4) ( d e n y i n g m oti o n t o dis miss c o ntr a ct cl ai ms w h er e

d ef e n d a nt’s i nt er pr et ati o n is “ c o m m er ci all y u nr e as o n a bl e, or c o ntr ar y t o t h e r e as o n a bl e

e x p e ct ati o ns of t h e p arti es ” a n d “ c o m m o n s e ns e m a y tilt i n f a v or of Pl ai ntiff’s i nt er pr et ati o n ”).

           R e c o g ni zi n g as m u c h, I n c yt e r es orts t o a tr ul y n o ns e nsi c al ar g u m e nt t h at N o v artis’ c o ntr a ct

i nt er pr et ati o n w o ul d o mit a n y i n c e nti v e f or I n c yt e t o s e e k a d diti o n al p at e nt pr ot e cti o n or r e g ul at or y

e x cl usi viti es b e c a us e t h e n I n c yt e w o ul d n e e d t o s h ar e t h e b e n efits of d oi n g s o wit h N o v artis. S e e

M ot.    at 6 . B ut s h ari n g i n t h e b e n efits of C o m m er ci ali z ati o n is e x a ctl y w h at t h e p arti es’

c oll a b or ati o n is all a b o ut. T his is p arti c ul arl y s o, si n c e N o v artis h as b e e n m at eri all y c o ntri b uti n g

t o t h e C o m m er ci ali z ati o n of r u x oliti ni b i n t h e U. S. si n c e t h e A gr e e m e nt w as si g n e d i n 2 0 0 9.

           I n d e e d, I n c yt e’s cl ai m of s o m e disi n c e nti v e or “ p e n alt y ” is als o b eli e d b y t h e f a ct t h at, e v e n

wit h a f ull r o y alt y r at e i n eff e ct, I n c yt e will still r et ai n at l e ast 9 5 % of t h e a n n u al N et S al es of

J a k afi, as N o v artis’ p ositi o n i n v ol v es a p pl yi n g t h e 5 % f ull r o y alt y r at e i n li e u of 2. 5 % u n d er t h e

St e p D o w n. Gi v e n t h at t h e r at e diff er e nti al is 2. 5 %, t h er e is n o i n di ci a a n y w h er e t h at c o nti n u ati o n

of t h e f ull r o y alt y r at e, wit h o ut a n y St e p D o w n, w o ul d disi n c e nti v e I n c yt e — w hi c h will g ai n t h e

li o n’s s h ar e of b e n efits i n all e v e nts— fr o m eff orts t o gr o w a n d e xt e n d J a k afi’s m ar k et p ositi o n i n

t h e U. S.     T h us, t h e cl e ar w ei g ht of c o m m er ci al l o gi c pr o vi d es f urt h er gr o u n ds f or fi n di n g t h at

N o v artis’ c o ntr a ct i nt er pr et ati o n is n ot j ust pl a usi bl e, b ut , i n f a ct, c o m p elli n g a n d j ustifies d e ni al

of t h e M oti o n a n d pr o c e e di n g wit h t h e c as e.

                                                             C O N C L U SI O N

           F or all t h es e r e as o ns , t h e M oti o n s h o ul d b e d e ni e d. T o t h e e xt e nt , h o w e v er, t h e C o urt fi n ds

a n y pl e a di n g d efi ci e n c y, N o v artis r e q u ests l e a v e t o r e pl e a d i n a n A m e n d e d C o m pl ai nt.


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D at e d: N e w Y or k, N e w Y or k   R es p e ctf ull y S u b mitt e d,
M a y 1 8, 2 0 2 0
                                       G R E E N B E R G T R A U RI G, L L P

                                       _ /s/H al S. S h aft el _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

                                       H al S. S h aft el
                                       S yl vi a E. Si ms o n
                                       M et Lif e B uil di n g
                                       2 0 0 P ar k A v e n u e
                                       N e w Y or k, N e w Y or k 1 0 1 6 6
                                       T el: ( 2 1 2) 8 0 1- 9 2 0 0
                                       F a x: ( 2 1 2) 8 0 1- 6 4 0 0
                                       s h aft el h @ gtl a w. c o m
                                       si ms o ns @ gtl a w. c o m

                                       A tt or n e ys f or Pl ai ntiff N o v artis I nt er n ati o n al
                                       P h ar m a c e uti c al A G




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